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     1       IN THE UNITED STATES DISTRICT COURT
     2        FOR THE NORTHERN DISTRICT OF OHIO
     3                EASTERN DIVISION
     4                     - - -
     5    IN RE: NATIONAL     : MDL NO. 2804
          PRESCRIPTION OPIATE :
     6    LITIGATION          :
          -----------------------------------------
     7                        : CASE NO.
          THIS DOCUMENT       : 1:17-MD-2804
     8    RELATES TO ALL CASES:
                              : Hon. Dan A.
     9                        : Polster
    10                     - - -
                  Thursday February 7, 2019
    11                     - - -
    12    HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
                   CONFIDENTIALITY REVIEW
    13
                                    -    -   -
    14
                       Videotaped deposition of AL
    15    PAONESSA, taken pursuant to notice, was
          held at Buffalo Marriott Harbor Center,
    16    95 Main Street, Buffalo, New York 14203,
          beginning at 10:05 a.m., on the above date,
    17    before Amanda Dee Maslynsky-Miller, a
          Certified Realtime Reporter.
    18
                                    -    -   -
    19
    20
    21
    22               GOLKOW LITIGATION SERVICES
                 877.370.3377 ph | 917.591.5672 fax
    23                   deps@golkow.com
    24

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     1    APPEARANCES: (Continued)
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     1    APPEARANCE: (Continued)
     2    VIA TELEPHONE/LIVESTREAM:
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    17    ALSO PRESENT:
          Dan Lawlor, Videographer
    18
    19
    20
    21
    22
    23
    24

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    13    Exhibit-1     Resume, Albert R.
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      4

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     14

     15    Stipulations
     16    Page Line            Page Line            Page Line
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     20    Question Marked
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     24

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      1                             -    -    -
      2                         (It is hereby stipulated and
      3               agreed by and among counsel that
      4               sealing, filing and certification
      5               are waived; and that all
      6               objections, except as to the form
      7               of the question, will be reserved
      8               until the time of trial.)
      9                             -    -    -
     10                         VIDEO TECHNICIAN:            We are
     11               now on the record.             My name is Dan
     12               Lawlor, I'm a videographer with
     13               Golkow Litigation Services.
     14               Today's date is February 7th,
     15               2019, and the time is 10:05 a.m.
     16                         This video deposition is
     17               being held in Buffalo, New York,
     18               in the matter of National
     19               Prescription Opiate Litigation,
     20               MDL Number 2804.
     21                         The deponent is Al
     22               Paonessa.         Counsel will be noted
     23               on the stenographic record.                  The
     24               court reporter is Amanda Miller
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      1               and will now swear in the witness.
      2                               -   -    -
      3                         AL PAONESSA, after having
      4               been duly sworn, was examined and
      5               testified as follows:
      6                               -   -    -
      7                            EXAMINATION
      8                               -   -    -
      9    BY MR. PENNOCK:
     10               Q.        Mr. Paonessa, my name is
     11    Paul Pennock.           I'm going to have quite a
     12    few questions for you today.
     13                         Can we have an agreement
     14    that if at any time you don't understand
     15    my questions, you'll let me know?
     16               A.        Yes.
     17               Q.        Otherwise, I'm going to
     18    assume that you understood them, okay?
     19               A.        Okay.
     20               Q.        You do understand we're
     21    relying upon the truth of your answers
     22    here today?
     23               A.        Yes.
     24               Q.        As I understand it, you were
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      1    president of a company known as Anda from
      2    2005 to 2015; is that right?
      3               A.        Correct.
      4               Q.        And you worked at Anda, as
      5    well as a predecessor company, for some
      6    years before that; is that correct?
      7               A.        Yes.
      8               Q.        So before you became
      9    president, you worked in sales for about
     10    four years?
     11               A.        Two years in sales.
     12               Q.        Two years in sales.
     13                         And before that, you worked
     14    in IT?
     15               A.        Yes.     Two years.
     16               Q.        And the work that you did
     17    throughout that entire time period
     18    involved the distribution of
     19    pharmaceuticals; is that right?
     20               A.        Yes.
     21               Q.        During that time period, and
     22    I'm going to focus right now from 2005 to
     23    2015, during that time period, some of
     24    the pharmaceuticals that your company was
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      1    responsible for distributing were
      2    opioids; is that correct?
      3               A.        Correct.
      4                               - -     -
      5                         (Whereupon, Anda-Paonessa
      6               Exhibit-1, Resume, Albert R.
      7               Paonessa, III, was marked for
      8               identification.)
      9                             -    -    -
     10    BY MR. PENNOCK:
     11               Q.        I marked as Exhibit-1 to
     12    your deposition what I understand to be
     13    your resume.
     14                         MR. PENNOCK:         Do you need a
     15               copy of that?
     16                         Do you need a copy?
     17                         MS. KOSKI:        Yes.
     18    BY MR. PENNOCK:
     19               Q.        Now, you currently work for
     20    a company known as KeySource?
     21               A.        Yes.
     22               Q.        And they also distribute
     23    pharmaceuticals?
     24               A.        Yes.
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      1               Q.        Did they distribute opioids?
      2               A.        No.
      3                         MS. KOSKI:        Object to form.
      4    BY MR. PENNOCK:
      5               Q.        Did they, at one time,
      6    distribute opioids?
      7               A.        Yes.
      8               Q.        Back when you were at Anda,
      9    were they sometimes a customer of yours?
     10               A.        Not that I know of.
     11               Q.        I want to turn to the last
     12    page of your resume, because I had a
     13    question about something on it.
     14                         So, first of all, you
     15    indicate here that your strongest belief
     16    is that you always do what is right.
     17                         Do you see that statement?
     18               A.        Yes.
     19               Q.        Is that something you wrote?
     20               A.        Yes.
     21               Q.        Is that a belief that you've
     22    held for a long time, or just when you
     23    prepared this resume?
     24               A.        Always.
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      1               Q.        A long time?
      2               A.        Yes.
      3               Q.        You also have something
      4    called a link to a Myers-Briggs
      5    Interpretive Report.
      6                         Do you see that?
      7               A.        Yes.
      8               Q.        Myers-Briggs, this is some
      9    kind of personality analysis; is that
     10    correct?
     11                         MS. KOSKI:        Object to form.
     12                         THE WITNESS:         I believe.
     13               I'm not sure.           I believe so.
     14    BY MR. PENNOCK:
     15               Q.        Did somebody else put this
     16    on your resume, or did you put this on?
     17               A.        It was suggested by the
     18    person that created the resume for me.
     19               Q.        That you took this
     20    personality test, right?
     21               A.        No.
     22                         MS. KOSKI:        Object to form.
     23                         You can answer.
     24                         THE WITNESS:         This was
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      1               given -- this test was done while
      2               we were owned by Actavis, which
      3               was the parent company of Anda.
      4                         They gave the test to the
      5               executives, and I took it and I
      6               got the report from it.                And this
      7               gentleman who did my profile asked
      8               me if I had any of these, I said
      9               yes.      And he thought it was good
     10               to put it into the resume, or at
     11               least the link to the document.
     12    BY MR. PENNOCK:
     13               Q.        Did you object to putting
     14    this on?
     15               A.        No.
     16               Q.        So it indicates that your
     17    personality, as determined by this
     18    Myers-Briggs test, includes -- the
     19    summary includes extraversion, right?
     20                         That's what it found?
     21               A.        Yes.
     22               Q.        I mean, you sent this resume
     23    to people, haven't you?
     24               A.        Yes.
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      1               Q.        So when you sent it to them,
      2    this was on there, right?
      3               A.        Correct.
      4               Q.        And it also indicates that
      5    you have intuition, right?
      6               A.        Yes.
      7               Q.        And that your thinking and
      8    perceiving, that's your personality type,
      9    ENTP, right?
     10               A.        Yes.
     11               Q.        And you also wrote that
     12    ENTPs tend to be innovative, strategic
     13    thinkers, versatile, analytical and
     14    entrepreneurial.
     15                         Do you see that?
     16               A.        It's written there.             I did
     17    not write that.            That was -- comes from
     18    the Myers-Briggs description of what an
     19    ENTP is.
     20               Q.        Again, but this is your
     21    resume, you put that on there to declare
     22    yourself to have been found to be these
     23    things by the Myers-Briggs test, right?
     24               A.        Yes.
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      1               Q.        Let me back up a little bit.
      2                         You --
      3                         MS. KOSKI:        I'm sorry, just
      4               for one second.            You didn't mark
      5               the exhibit, or if you did, you
      6               might have the one with the label.
      7                         MR. PENNOCK:         I have it
      8               right here.
      9                         MS. KOSKI:        The one he has
     10               doesn't have a label.               Did you
     11               want him to be looking at the
     12               labeled one, or do you want to
     13               keep those?
     14                         MR. PENNOCK:         Whatever you
     15               prefer.       It doesn't matter to me.
     16               I just realized I was writing on
     17               the marked one.
     18                         MS. KOSKI:        I saw you
     19               underlining it too.              But you might
     20               want to be using the marked one.
     21               I'm just trying to figure it out.
     22    BY MR. PENNOCK:
     23               Q.        When you were at Anda, you
     24    would sell -- well, let me back up.
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      1                         What is oxy?
      2                         MS. KOSKI:        Object to form.
      3                         THE WITNESS:         A
      4               pharmaceutical drug.
      5    BY MR. PENNOCK:
      6               Q.        You've used that term
      7    before, right, oxy?
      8               A.        Oxy?     Sure.      Yes.
      9               Q.        What does it refer to?
     10               A.        OxyContin.
     11               Q.        Is that it?         Does it refer
     12    to anything other than OxyContin?
     13               A.        Not that I know of.
     14               Q.        So when you were at Anda --
     15    by the way, you were often referred to as
     16    AL3; is that right?
     17               A.        Yes.
     18               Q.        Because you're Albert
     19    Paonessa, III, correct?
     20               A.        Right.
     21               Q.        So when you were at Anda, at
     22    one point in time, at least during 2008,
     23    you were selling about $7.5 million a
     24    quarter in oxy; isn't that right?
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      1               A.        I'm not sure.
      2               Q.        So if you were selling $7.5
      3    million a quarter, that would be about
      4    $30 million in oxy a year, right?
      5                         MS. KOSKI:        Object to form.
      6                         THE WITNESS:         Math-wise,
      7               yes.
      8    BY MR. PENNOCK:
      9               Q.        And, by the way, for the ten
     10    years that you were president at Anda,
     11    how much did you earn, in total?
     12                         MS. KOSKI:        Object to form.
     13                         THE WITNESS:         I don't know.
     14    BY MR. PENNOCK:
     15               Q.        Do you have an estimate for
     16    how much you earned?
     17               A.        For the ten years?
     18                         MS. KOSKI:        Are you asking
     19               him personally or the company?
     20                         MR. PENNOCK:         I'm asking him
     21               how much he earned for the ten
     22               years he was at Anda.
     23                         MS. KOSKI:        Personally?
     24                         THE WITNESS:         I can try to
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      1               go year by year and add it up in
      2               my head, but I don't really know
      3               how much it was.            A lot of it was
      4               in stock, too.           So that changed in
      5               value over time.
      6                         My salary was around
      7               $400,000.        And then I got bonuses
      8               of up to 50 to 75 percent of that.
      9               So on a yearly basis, I would get
     10               somewhere around $650,000.
     11                         And then I got stock that
     12               vested over four years.                And I
     13               don't know what the value of that
     14               is.     But the company itself grew
     15               quickly and the stock appreciated,
     16               too.      So it was Actavis stock, it
     17               wasn't Anda stock.
     18    BY MR. PENNOCK:
     19               Q.        So taking your income,
     20    including bonuses, we can rough it out
     21    that as -- ten years as president, you
     22    made somewhere in the neighborhood of
     23    $6.5 million?
     24               A.        Possibly.
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      1               Q.        And in addition to that, you
      2    received stock?
      3               A.        Yes.
      4               Q.        What were your bonuses based
      5    on?
      6               A.        Bonuses were based -- 40
      7    percent was based on the contribution or
      8    what Anda did for the company, and then
      9    60 percent was based on what Actavis did
     10    as a company.
     11               Q.        Did you meet with lawyers
     12    regarding your deposition here today to
     13    prepare?
     14               A.        Yes.
     15               Q.        How long did you meet?
     16               A.        Yesterday, probably three,
     17    four hours.
     18               Q.        Did you meet with any --
     19    anybody other than a lawyer to prepare
     20    you for presentation at this deposition?
     21               A.        No.
     22                         MR. PENNOCK:         I'll mark this
     23               as Exhibit-2.
     24                               -   -    -
   Golkow Litigation Services                                               Page 24
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      1                         (Whereupon, Anda-Paonessa
      2               Exhibit-2,
      3               Anda_Opioids_MDL_0000618121-123,
      4               was marked for identification.)
      5                               -   -    -
      6                         THE WITNESS:         Okay.
      7    BY MR. PENNOCK:
      8               Q.        Sir, you've had an
      9    opportunity to read Exhibit-2; is that
     10    right?
     11               A.        Yes.
     12               Q.        I'm going to look at the
     13    first -- this is a series of e-mails,
     14    true?
     15               A.        Yes.
     16               Q.        The first e-mail in this
     17    Exhibit-2 is an e-mail from you to a
     18    gentleman by the name of Paul Bisaro,
     19    right?
     20               A.        Yes.
     21               Q.        Who is he?
     22               A.        He was a CEO of, at that
     23    time named Watson, before we became
     24    Actavis.
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      1               Q.        CEO, Watson.
      2                         And Mr. Bisaro, he was your
      3    boss, right?
      4               A.        Yes.
      5               Q.        Now, you indicate to him
      6    that -- you're talking about some kind of
      7    opportunity to buy Oxy, aren't you?
      8               A.        Yes.
      9               Q.        And you start out the e-mail
     10    by saying that Mallinckrodt worked a deal
     11    with Purdue to market a generic OxyContin
     12    for an undisclosed number of months.
     13                         Do you see that?
     14               A.        Yes.
     15               Q.        Mallinckrodt was one of your
     16    competitors?
     17               A.        No.
     18               Q.        Who is Mallinckrodt?
     19               A.        They are a manufacturer of
     20    generic pharmaceuticals.
     21               Q.        And you didn't consider them
     22    to be one of your competitors at that
     23    time?
     24               A.        No.
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      1               Q.        They didn't distribute in
      2    any way?
      3               A.        I'm not sure what they
      4    distributed.          They sold to other
      5    distributors and wholesalers like myself.
      6               Q.        So who -- who were you
      7    talking about buying the Oxy from in this
      8    e-mail?
      9               A.        It looks like Kinray, which
     10    was a full-line wholesaler in the New
     11    York City market.
     12               Q.        So Kinray was a distributor?
     13               A.        Wholesaler/distributor, yes.
     14    They were a full-line wholesaler.
     15               Q.        What does that mean?
     16               A.        They sold brand drugs,
     17    generic drugs, OTCs, Kleenex, things like
     18    that.      So they did the front end and the
     19    back end of a pharmacy.
     20               Q.        What does it mean that the
     21    Kinray product comes with a pedigree?
     22               A.        It means that the -- that
     23    Dava sold the drug directly to Kinray.
     24    And that when I would purchase the drug,
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      1    that I knew it came from Kinray and it
      2    wasn't -- I knew where it was at all
      3    times.       It came with a pedigree.
      4                         Florida passed a law that
      5    you had to do past pedigrees, I believe
      6    it was in July of '07.                We were the only
      7    state with it, and we couldn't purchase a
      8    product or sell a product if we didn't
      9    trace it back to the origin.
     10               Q.        So in any event, you
     11    indicate here that Anda does about 7.5
     12    million per quarter of Oxy.
     13                         Do you see that?
     14               A.        Yes.
     15               Q.        And that you can buy another
     16    batch of Dava from Kinray at a 7 percent
     17    better price than the price Mallinckrodt
     18    offered us.
     19                         Do you see that statement?
     20               A.        Yes.
     21               Q.        And then you recommend to
     22    your boss that you wanted to buy $8.35
     23    million, on Monday, of Oxy?
     24               A.        Yes.
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      1               Q.        And that would give you
      2    about a four-month supply --
      3               A.        Yes.
      4               Q.        -- right?
      5                         Now, were there other Oxy --
      6    were there other products that contained
      7    opioids that you sold, other than Oxy?
      8                         MS. KOSKI:        Object to form.
      9                         THE WITNESS:         Yes.
     10    BY MR. PENNOCK:
     11               Q.        How many?
     12               A.        I don't know.
     13               Q.        So whatever the 7.5 million
     14    per quarter of Oxy, that did not
     15    represent your total sales, at that time,
     16    of opioid products, correct?
     17               A.        Correct.
     18               Q.        Now, at some point -- by the
     19    way, this was in -- this was in September
     20    of 2008, right?
     21               A.        Yes.
     22               Q.        At some point in the summer
     23    of 2007, you formed an agreement with the
     24    DEA that you would not sell more than
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      1    5,000 units of a particular drug to
      2    customers of yours; is that correct?
      3                         MS. KOSKI:        Object to form.
      4                         THE WITNESS:         No.
      5    BY MR. PENNOCK:
      6               Q.        You had an agreement that
      7    you would not sell more than 5,000 units
      8    of a drug to customers, more than that in
      9    one month, right?
     10                         MS. KOSKI:        Object to form.
     11                         THE WITNESS:         No.
     12    BY MR. PENNOCK:
     13               Q.        So what agreement did you
     14    form, in your mind, in 2007?
     15                         MS. KOSKI:        Object to form.
     16                         Go ahead.
     17                         THE WITNESS:         There was
     18               never an agreement.              We met with
     19               the DEA, and the DEA gave us a
     20               guideline that nobody should
     21               really have more than 5,000
     22               tablets at any time.
     23                         They didn't define -- at
     24               that point in time, they didn't
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      1               define if it was an opioid or the
      2               type of chemical it was.                 They
      3               just basically said no pharmacy
      4               should have more than 5,000,
      5               unless there's reasons for it, and
      6               we would have to understand why we
      7               would give them more than 5,000.
      8                         But as a rule of thumb, that
      9               they felt that we should not -- a
     10               common -- based on the industry, a
     11               pharmacy should not, probably,
     12               sell more than 5,000 tablets at
     13               any time, unless there was a
     14               reason for it, that we would have
     15               to investigate.
     16    BY MR. PENNOCK:
     17               Q.        Well, after having this
     18    discussion with the DEA -- by the way,
     19    you were personally part of that
     20    discussion, weren't you?
     21               A.        Which discussion was it?                We
     22    spoke with them a lot.
     23               Q.        Whatever discussion you had
     24    where they provided you with this
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      1    guideline that you should probably not
      2    sell more than 5,000 tablets at any time,
      3    unless there was a reason for it.
      4               A.        I don't recall the exact
      5    time that that conversation happened, but
      6    you're in the right time frame.                     It was
      7    somewhere in there.
      8                         We spoke with them a lot.
      9    The DEA -- the local DEA was literally
     10    across the street from the Anda office.
     11    We communicated all the time, a lot.
     12                         But I don't remember that
     13    exact conversation.              But at that point,
     14    it was 5,000 is what they discussed it
     15    would be, a rule of thumb for us to look
     16    at.
     17               Q.        And you took that rule of
     18    thumb very seriously, didn't you?
     19               A.        Yes.
     20               Q.        And you applied that to your
     21    practice, in terms of sales; isn't that
     22    right?
     23               A.        Yes.
     24               Q.        And the reason that you
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      1    applied it to your practice, in terms of
      2    sales, was because you understood that
      3    there was -- there appeared to be a
      4    problem regarding the diversion of
      5    opioids, right?
      6               A.        Yes.
      7               Q.        And at that time, was that a
      8    concern of yours, to take steps to avoid
      9    the diversion of opioids?
     10               A.        Yes.
     11               Q.        Now, you mentioned that if
     12    some customer wanted more than 5,000,
     13    that, then, you would investigate, true?
     14               A.        Yes.
     15               Q.        And what was the nature of
     16    that investigation?
     17               A.        If we are talking about the
     18    2006, '07 time frame, then they would
     19    have a questionnaire.               We understand who
     20    they sold to.           We would look at exactly
     21    what we sold to them, too, ourselves, and
     22    look at what their mix was.
     23                         Then we would try to also
     24    get a dispensing record from them of what
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      1    they're dispensing so we could find out
      2    where else they're buying opioids from.
      3    Because the DEA would not share that
      4    information with us.
      5               Q.        When you -- if you received
      6    an order for, let's say, 10,000 units,
      7    would you report that to the DEA if you
      8    didn't agree to fulfill that order?
      9                         MS. KOSKI:        Object to form.
     10                         THE WITNESS:         We did -- our
     11               goal was to do the due diligence
     12               on the front end to not even allow
     13               a person to place an order for
     14               that.
     15                         So they knew what their --
     16               their limits that they could
     17               possibly have.           If they tried to
     18               place an order, which they didn't,
     19               if they tried to place an order,
     20               we would have identified the DEA
     21               that they wanted more than the
     22               5,000 limit.
     23                         But if they -- but we would
     24               try to proactively not allow --
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      1               proactively tell our customers
      2               that this is all you're going to
      3               get.      And if there's a reason that
      4               your facility needs more than
      5               5,000, then you're going to have
      6               to, you know, give us more due
      7               diligence in order for us to
      8               approve that.
      9                               -    -    -
     10                         (Whereupon, Anda-Paonessa
     11               Exhibit-3,
     12               Anda_Opioids_MDL_0000078211-212,
     13               was marked for identification.)
     14                             -     -    -
     15    BY MR. PENNOCK:
     16               Q.        I'm going to show you what's
     17    been marked as Exhibit-3 to your
     18    deposition.
     19                         MR. PENNOCK:         For the
     20               record, I did not identify it,
     21               Exhibit-2 was Anda_Opioids_MDL,
     22               Bates number 0000618121.
     23                         Exhibit-3 is same prefix,
     24               0000078211.
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      1                         THE WITNESS:         Okay.
      2    BY MR. PENNOCK:
      3               Q.        So this Exhibit-3 is a
      4    letter that -- I'm sorry, an e-mail that
      5    you were cc'd on, right?
      6               A.        Yes.
      7               Q.        And Michael Cochrane, he was
      8    somebody that worked for you, right?
      9               A.        Yes.
     10               Q.        And he was involved in -- or
     11    he was responsible for compliance; is
     12    that right?
     13               A.        Yes.
     14               Q.        And Patrick Cochrane also
     15    worked for you, right?
     16               A.        Yes.
     17               Q.        And he also -- you consulted
     18    him with respect to compliance as well on
     19    occasion, right?
     20               A.        Yes.
     21               Q.        And in this e-mail, do you
     22    agree with me, it appears that a
     23    customer, KeySource -- by the way, is
     24    Steve Cochrane related to Michael and
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      1    Patrick Cochrane?
      2               A.        No, no.
      3               Q.        So KeySource was looking to
      4    purchase OxyContin from you, right?
      5               A.        Correct.
      6               Q.        And KeySource, according to
      7    Michael Cochrane, who is e-mailing you,
      8    he says, I raised the 30,000 for the
      9    order they sent.
     10                         What does that mean?
     11               A.        He raised their limit to
     12    30,000.
     13               Q.        He says, Ron is under the
     14    impression that we are going to raise
     15    again.
     16                         Do you see that?
     17               A.        Correct.
     18               Q.        He says, George, your e-mail
     19    yesterday was that it was a small amount,
     20    no worries.          I can say we all agreed.
     21                         Have I read that correctly?
     22               A.        Yes.
     23               Q.        But now raising them to more
     24    than triple what we originally did is a
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      1    different story.
      2                         Right?
      3               A.        Correct.
      4               Q.        As far as I know, they have
      5    no intentions on buying anything else
      6    from us.
      7                         Do you see that?
      8               A.        Yes.
      9               Q.        What he means is that
     10    they're only buying -- they're only going
     11    to be buying the OxyContin from you?
     12               A.        Correct.
     13               Q.        And that -- that statement
     14    relates to the mix of their purchases
     15    that I think you alluded to earlier,
     16    right?
     17               A.        I alluded to that as though
     18    they were independent pharmacies.                      This
     19    was a distributor.
     20               Q.        So you didn't concern
     21    yourself with whether they were
     22    purchasing anything other than Oxy from
     23    you if they were a distributor?
     24                         MS. KOSKI:        Object to form.
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      1                         THE WITNESS:         I don't
      2               remember this e-mail at all, so I
      3               don't know.
      4    BY MR. PENNOCK:
      5               Q.        Well, what was your
      6    protocol?
      7                         MS. KOSKI:        Object to form.
      8                         THE WITNESS:         In 2007 on
      9               this, I don't recall.
     10    BY MR. PENNOCK:
     11               Q.        Well, Michael Cochrane, who
     12    you just indicated was in charge of
     13    compliance, he made the statement to you,
     14    As far as I know, they have no intentions
     15    of buying anything else from us.
     16                         Do you see that?
     17               A.        Yes.
     18                         My statement is that -- what
     19    I'm trying to say is that I don't
     20    remember what the exact protocol was for
     21    a wholesaler or distributor.                   I know for
     22    an independent it was different.
     23                         I don't recall what we had
     24    as that -- at that time in 2007, I do not
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      1    recall what we had, you know, for a
      2    situation of selling to another
      3    distributor.
      4               Q.        He says, They are
      5    overnighting a form to us for an


      7                         Do you see that?
      8               A.        Correct.
      9               Q.        That's the -- is that the
     10    222 form they had to fill out?
     11               A.        Correct.
     12               Q.        That was required for any
     13    purchase of a controlled substance Level
     14    II, right?
     15               A.        Yes.
     16               Q.        We only shipped half of
     17    their first order, due to some credit
     18    issues.
     19                         And then he says, Should we
     20    only ship the remainder of what they have


     22                         Do you see that statement?
     23               A.        Correct.
     24               Q.        And then he asks, Do we want
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      1



      3                         Do you see that?
      4               A.        Correct.
      5               Q.        He's directing that to you?
      6               A.        Yes.
      7               Q.        And the reason he's
      8    directing it to you is that you were the
      9    person that would make the final decision
     10    on all increases over the limit; isn't
     11    that right?
     12               A.        Yes.
     13               Q.        And you did that on a
     14    regular basis for many years at Anda,
     15    right?
     16               A.        Yes, yes.
     17               Q.        And, typically, it would be
     18    Mr. Cochrane that would e-mail you and
     19    indicate what the situation was and
     20    request whether you approved an increase,
     21    right?
     22               A.        Yes.
     23               Q.        Now, you wrote back to him,
     24    Stay where you are.
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      1                         MS. KOSKI:        Object to form.
      2    BY MR. PENNOCK:
      3               Q.        Do you see that statement?
      4               A.        Yes.     I can only assume, he
      5    was across the hall from me, so I
      6    probably walked across and talked to him.
      7                         MS. KOSKI:        My objection is
      8               the e-mail back to him is not from
      9               Mr. Paonessa, it's from Mr.
     10               Fields.
     11                         MR. PENNOCK:         Oh, I didn't
     12               pick up on that.            I apologize.
     13               Let me -- let me check that.
     14    BY MR. PENNOCK:
     15               Q.        Who is George Fields?
     16               A.        George Fields, in 2007,
     17    would have been director of sales.
     18               Q.        Why is he chiming in here?
     19               A.        Well, it was common for a
     20    rep to plead their case to someone above
     21    them for their customer, why we wouldn't
     22    allow people to have certain limits.
     23    Very common that it would happen.
     24                         But my feelings were we
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      1    should always listen but not say -- you
      2    know, we didn't have a blanket, just do
      3    it; we would listen and then we would
      4    start our due diligence on it.
      5               Q.        So do you know if this sale
      6    was approved or not?
      7               A.        No idea.
      8               Q.        No recollection of that?
      9               A.        No.
     10               Q.        How would we find that out?
     11               A.        You'd have to get the
     12    records from Anda.
     13               Q.        If this sale were not
     14    approved, would it have been your
     15    protocol, at that time, to have reported
     16    KeySource to the DEA for a suspicious
     17    order?
     18               A.        I don't know.          On a
     19    distributor, I do not know -- I don't
     20    remember what our protocol was on
     21    distributors at that time.
     22                         If that was an independent
     23    pharmacy, I would have said yes.
     24               Q.        If it was an independent,
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      1    you would have?
      2               A.        Yes.
      3               Q.        Okay.
      4               A.        Well, let me add to that.
      5                         I would have, had the due
      6    diligence came back on an independent
      7    that did not warrant them to have an
      8    increase.        Which we did numerous times
      9    that we sent to the DEA, once due
     10    diligence, that this is -- we would turn
     11    the customer off and we would not give
     12    them more Oxy or hydrocodone.
     13               Q.        So if a customer placed an
     14    order -- withdrawn.
     15                         If a customer requested to
     16    place an order with you that was
     17    increasing their limits and you declined
     18    it, then you would report it to the DEA,
     19    right?
     20                         MS. KOSKI:        Object to form.
     21                         THE WITNESS:         Well, it would
     22               not be an order.            They would
     23               request for a limit increase.
     24                         If they wanted a limit
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      1               increase, we would do the due
      2               diligence on the customer.                  So
      3               this was always a contention with
      4               the DEA, that we said, we won't
      5               allow people to order, we've put
      6               systems in, they can't order more
      7               than they're allowed to have.
      8                         And we trained them, if you
      9               want more, you need to give us
     10               information.          And the
     11               information -- you're talking in
     12               2007 and '08.           It changed again in
     13               2010, '12.         It changed again,
     14               probably, before I left Anda.
     15                         So it was constantly us
     16               trying to figure out exactly --
     17               you know, part of my opinion of
     18               the DEA was they wanted us to work
     19               extra hard on this, and I agree
     20               with that opinion of theirs, but
     21               they never gave us really solid
     22               guidelines of what to go on and
     23               what to do.
     24                         So we would do everything we
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      1               can to try to figure out, you
      2               know, what this -- if this
      3               customer was a good customer or a
      4               bad customer when it came to
      5               opioids.
      6                         So, most likely, an order
      7               never came through for -- from an
      8               independent pharmacy, because we
      9               didn't allow them to order and we
     10               either turned them over to the DEA
     11               or we gave them the increase.
     12    BY MR. PENNOCK:
     13               Q.        Why is it that you only were
     14    concerned about selling too much opioid
     15    to independent pharmacies and not
     16    distributors?
     17                         MS. KOSKI:        Object to form.
     18                         THE WITNESS:         I don't have
     19               an answer for that.
     20                         I am very surprised,
     21               actually, that we sold to
     22               KeySource.         I'm the CEO of
     23               KeySource, and I had no idea that
     24               we had sold to them back in 2007.
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      1    BY MR. PENNOCK:
      2               Q.        Okay.     Let me see if I can
      3    understand this, though.
      4                         You mentioned several times
      5    the -- looking at and not agreeing to
      6    fulfill an order from an independent
      7    pharmacy.
      8                         But I -- is it correct that
      9    you had a different standard for
     10    distributors?
     11                         MS. KOSKI:        Object to form.
     12                         THE WITNESS:         Possibly.        I
     13               don't recall.
     14    BY MR. PENNOCK:
     15               Q.        You would agree with me that
     16    an order -- withdrawn.
     17                         You would agree, wouldn't
     18    you, that selling 75,000 units of an
     19    opioid to a pharmacy per month was a very
     20    high order?
     21                         MS. KOSKI:        Object to form.
     22                         THE WITNESS:         It would be
     23               unique.
     24    BY MR. PENNOCK:
   Golkow Litigation Services                                               Page 47
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      1               Q.        Have you seen documents
      2    relating to Lake Erie Medical?
      3               A.        Yes.
      4               Q.        Do you know who Lake Erie
      5    Medical is?
      6               A.        Yes.
      7               Q.        Who is Lake Erie Medical?
      8               A.        They are a repackaging
      9    company out of Erie, Pennsylvania.
     10               Q.        What does that mean, a
     11    repackaging company?
     12               A.        This particular company
     13    would take different pharmaceuticals in
     14    bottles and they would break them down
     15    into tablets -- into unit of use type of
     16    tablets for nursing homes, hospitals,
     17    blister packs, a unit of use may be 28
     18    pills or 10 pills, and then put it into
     19    their own NDC number.               And then it would
     20    be sold -- resold to whoever the
     21    pharmacies were that they had accounts
     22    with.
     23               Q.        You said that -- you were
     24    referring to Lake Erie Medical in Erie,
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      1    Pennsylvania?
      2               A.        I believe that's where
      3    they're from.
      4               Q.        Do you know of a Lake Erie
      5    Medical in Toledo, Ohio?
      6               A.        No, I don't recognize that.
      7    I don't remember that.                  I thought they
      8    were in Erie, Pennsylvania.
      9                         They came and visited us --
     10    I don't remember.              And we visited them,
     11    too.      But I didn't go on the trip to
     12    visit them.
     13                               -    -    -
     14                         (Whereupon, Anda-Paonessa
     15               Exhibit-4,
     16               Anda_Opioids_MDL_0000276293-299,
     17               was marked for identification.)
     18                             -     -    -
     19    BY MR. PENNOCK:
     20               Q.        Let me show you what's been
     21    marked as Exhibit-4 now to your
     22    deposition, bearing Bates number
     23    0000276293.
     24               A.        Okay.
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      1               Q.        Do you recall someone by the
      2    name of Mike Holmes?
      3               A.        No.
      4               Q.        If you look at -- you see
      5    that this exhibit begins -- the top page
      6    is an e-mail, but it attaches some
      7    letters, right?
      8               A.        Yes.
      9               Q.        And the first letter in
     10    order, chronological order, is a letter
     11    to Lake Erie Medical Supply -- I'm sorry,
     12    to Lake Erie Medical and Surgical Supply.
     13                         Do you see that?
     14               A.        Yes.
     15               Q.        And that's from the DEA
     16    Detroit field division, right?
     17               A.        Yes.
     18               Q.        And after that, there's a
     19    letter that is part of the attachment
     20    that appears to be a letter sent to the
     21    DEA by Mike Holmes, president of Lake
     22    Erie Medical Supply, right?
     23               A.        Correct.
     24               Q.        And then both of these
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      1    letters make their way, through an
      2    e-mail, to Mike Cochrane, who worked for
      3    you?
      4               A.        Yes.
      5               Q.        He was in charge, we
      6    mentioned earlier, of compliance, right?
      7               A.        Correct.
      8               Q.        Meaning compliance with
      9    these regulations and laws concerning the
     10    distribution and the sale of opioids --
     11                         MS. KOSKI:        Objection.
     12    BY MR. PENNOCK:
     13               Q.        -- as well as other
     14    compliance, right?
     15                         MS. KOSKI:        Object to form.
     16                         THE WITNESS:         Yes.
     17    BY MR. PENNOCK:
     18               Q.        Now, this someone -- Jeannie
     19    Sieren, do you know who she is?
     20               A.        No.
     21               Q.        Well, she sent it to Mike
     22    Cochrane.        And she says, Hi Michael, Mike
     23    Holmes asked me to send this to you.
     24                         Do you see that statement?
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      1               A.        Yes.
      2               Q.        This is a copy of our letter
      3    from the DEA and our response to the DEA.
      4    We will also forward you our written plan
      5    of action.
      6                         Do you see that?
      7               A.        Yes.
      8               Q.        So does it appear to you
      9    that there -- withdrawn.
     10                         Do you -- based on the
     11    protocols that you had back in June of
     12    2008, can you shed some light on why this
     13    would have been sent to you?
     14                         MS. KOSKI:        Object to form.
     15                         THE WITNESS:         No.     I have no
     16               idea why they got this -- why we
     17               got it.
     18                         And I have no idea why it
     19               was sent or what was going on at
     20               that time.
     21    BY MR. PENNOCK:
     22               Q.        Well, Lake Erie -- this Lake
     23    Erie Medical from Toledo, Ohio, it
     24    appears, was a customer of yours?                      Is
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      1    that what it looks like to you?
      2               A.        Yes.
      3               Q.        And do you have any
      4    recollection of selling opioids to Lake
      5    Erie in Toledo, Ohio?
      6                         MS. KOSKI:         Object to form.
      7                         THE WITNESS:         I don't
      8               remember doing that.
      9    BY MR. PENNOCK:
     10               Q.        Having seen that this is
     11    Lake Erie Medical Supply from Toledo,
     12    Ohio, does that refresh your recollection
     13    that the Lake Erie Medical was in Toledo,
     14    Ohio and not Erie, Pennsylvania?
     15               A.        It -- I'm sure that this
     16    Lake Erie Medical is the one that we're
     17    both talking about.              I just thought it
     18    was in Lake -- I thought it was in Erie,
     19    Pennsylvania.
     20               Q.        Had you seen these documents
     21    before?
     22               A.        No.
     23                               -   -    -
     24                         (Whereupon, Anda-Paonessa
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      1               Exhibit-5,
      2               Anda_Opioids_MDL_0000282942, was
      3               marked for identification.)
      4                             -    -    -
      5    BY MR. PENNOCK:
      6               Q.        Let me show you Exhibit-5 to
      7    your deposition.             This is an e-mail
      8    bearing Bates number 0000282942.
      9               A.        Okay.
     10               Q.        Now, the first e-mail on
     11    Exhibit-5 is an e-mail to you from Mike
     12    Cochrane, right?
     13               A.        Correct.
     14               Q.        And it's October 25th, 2007.
     15                         It says, Al, I need your
     16    approval to change the monthly dosage
     17    limit percentage on the account listed




     20    month.
     21                         Have I read that correctly?
     22               A.        Correct.
     23               Q.        The reason, he says, it's


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      2    right?
      3               A.        Possibly.        I'd have to --
      4    I'd have to do a calculator, but that's
      5    probably correct.
      6               Q.        And you replied, Approved.
      7               A.        Correct.
      8               Q.        So what was your basis for
      9    approving a 1,400 percent increase to
     10    this customer?
     11               A.        There's not enough here for
     12    me to say why I approved it.                   Most cases,
     13    we spoke about it.
     14               Q.        So you think you spoke about
     15    it?
     16               A.        Yes.     We always spoke about
     17    it.     I never approved anything without
     18    having backup on it, or maybe not in the
     19    e-mail.       But there was a discussion about
     20    the account, of why they would do it.
     21                         And then they would say,
     22    okay, I'll send you for approval.                      And I
     23    would approve it.             In --
     24               Q.        So you think that you spoke
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      1    about it --
      2               A.        I'm sure I spoke about it.
      3               Q.        -- before this e-mail was
      4    sent to you?
      5               A.        Yes.
      6               Q.        And then about four hours
      7    later you approved it?
      8                         You're saying you approved
      9    it before it was ever sent to you?
     10               A.        Absolutely.
     11               Q.        Was that your protocol?
     12               A.        Always.
     13               Q.        And what type of information
     14    did you require to approve such an
     15    enormous increase?
     16                         MS. KOSKI:        Object to form.
     17    BY MR. PENNOCK:
     18               Q.        You agree with me that's an
     19    enormous increase, don't you?
     20                         MS. KOSKI:        Object to form.
     21                         THE WITNESS:         I agree it's
     22               not a normal one that you would
     23               have seen Anda do.
     24    BY MR. PENNOCK:
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      2    dosage units a month, right?
      3                         MS. KOSKI:        Object to form.
      4                         THE WITNESS:         There's so
      5               much behind that, that I'm not
      6               looking at right now, that I can't
      7               answer that question.
      8    BY MR. PENNOCK:
      9               Q.        Do you know where any of
     10    that documentation is?
     11               A.        It would be in the Anda
     12    compliance department.
     13               Q.        It should be in the Anda
     14    compliance files, right?
     15               A.        I would assume so, yes.
     16               Q.        Right.      You never directed
     17    anyone to destroy any documents --
     18               A.        Never.
     19               Q.        -- did you?
     20               A.        Never.
     21               Q.        You never directed anyone to
     22    destroy any e-mails?
     23               A.        Never.
     24               Q.        You have -- did you ever
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      1    learn that there was any destruction of
      2    documents concerning opioids at Anda?
      3               A.        Never.
      4               Q.        Since -- even since you
      5    left, have you heard any rumor of that?
      6               A.        Never.
      7               Q.        Sir, I'm showing you what's
      8    been marked as Exhibit-6 to your
      9    deposition.          And it's 0000273685.
     10                               -    -    -
     11                         (Whereupon, Anda-Paonessa
     12               Exhibit-6,
     13               Anda_Opioids_MDL_0000273585-586,
     14               was marked for identification.)
     15                             -     -    -
     16                         MS. KOSKI:          The exhibit that
     17               you gave the witness seems to be
     18               more pages than the one that you
     19               gave me.
     20                         Oh, you just gave him more
     21               than one copy.
     22                         MR. PENNOCK:          Sorry.
     23    BY MR. PENNOCK:
     24               Q.        Have you had a chance to
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      1    look at that e-mail chain?
      2               A.        Yes.
      3               Q.        Exhibit-6, this starts out
      4    with an e-mail to you at 9:00 in the
      5    morning on June 17th, and it says, Al, I
      6    need your approval to change the monthly
      7    dosage limit percentage on the account




     11    Medical.
     12                         Do you see that?
     13               A.        Yes.
     14               Q.        It's the same customer we
     15    were talking about a moment ago --
     16               A.        Correct.
     17               Q.        -- right?
     18               A.        Do you know what product it
     19    is?
     20               Q.        We'll get to that.
     21                         And you said, You have
     22    backup for this?
     23                         Do you see that statement?
     24               A.        Yes.
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      1               Q.        Feel comfortable?
      2               A.        Yes.
      3               Q.        And he wrote back, Yes.
      4                         Right?
      5               A.        Correct.
      6               Q.        And you approved it?
      7               A.        Correct.
      8               Q.        So is it your testimony that
      9    you had a conversation with him about the
     10    basis for his feeling comfortable for
     11    this increase?
     12               A.        I don't recall this specific
     13    situation.
     14               Q.        Well, what would have been
     15    your basis to approve an increase of --
     16    from 1,400 percent to 2,400 percent back
     17    in June of 2008?
     18               A.        I believe that our due
     19    diligence that Michael had backup for was
     20    going to be adequate.               Whether I saw it
     21    or not, I do not recall.
     22               Q.        So it's possible that you
     23    may have approved it without seeing it?
     24               A.        Not before asking, do you
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      1    have backup to justify it?                  That's what
      2    the, Do you have backup for.
      3               Q.        And if Cochrane said, Mike
      4    Cochrane said, yes, I have backup, then
      5    you would sign-off on it?
      6               A.        It looks like I did in this
      7    instance.        I don't know exactly what I
      8    thought he would have or not have at that
      9    time.
     10                         I knew he had reviewed Lake
     11    Erie Medical numerous times.                   So I
     12    probably assumed that he had the backup
     13    that I was expecting.
     14               Q.        You understood at that time
     15    that there appeared to be a problem with
     16    opioids in the United States, didn't you?
     17                         MS. KOSKI:        Object to form.
     18                         THE WITNESS:         Not -- at this
     19               period of time in 2006 and '07,
     20               not to the extent that we saw in
     21               later years, no.
     22    BY MR. PENNOCK:
     23               Q.        You knew people were dying
     24    from opioids at that time, didn't you?
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      1                         MS. KOSKI:        Object to form.
      2                         THE WITNESS:         I would assume
      3               they did.        But I don't -- you
      4               know, I don't believe that, at
      5               that period of time, it was like
      6               what we currently see today.
      7    BY MR. PENNOCK:
      8               Q.        Well, if we go back to
      9    Exhibit-4, the letter from -- the letters
     10    that Lake Erie sent to Mike Cochrane from
     11    the DEA -- go back to Exhibit-4, please.
     12               A.        Okay.
     13               Q.        And so you approved this
     14    increase on June 17th, 2008.                   And the
     15    letters regarding the DEA -- or, I'm
     16    sorry, the letter from the DEA to Lake
     17    Erie and Lake Erie's response was about
     18    two weeks earlier, June 4th, 2008.
     19                         Do you see that?            That's
     20    when they were sent to Cochrane.
     21                         MS. KOSKI:        Object to form.
     22                         THE WITNESS:         Okay.
     23    BY MR. PENNOCK:
     24               Q.        So the letters that we
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      1    looked at a few minutes ago in Exhibit-4
      2    were e-mailed to Michael Cochrane, who
      3    worked for you, on June 4th, 2008, right?
      4               A.        Correct.
      5               Q.        And then what we just looked
      6    at in Exhibit-6 was June 17th, 2008,
      7    right?
      8               A.        Correct.
      9               Q.        Now, Mr. Cochrane, at least,
     10    had available to him a letter, and I want
     11    to -- that letter.             And let's look at
     12    some of the things the DEA said to Lake
     13    Erie, if you want to take a minute.
     14               A.        Okay.
     15               Q.        All right.        Thank you.
     16                         Let's look at the -- so the
     17    DEA letter to Lake Erie indicates that,
     18    tell me if I'm reading this correctly,
     19    please, Inventories performed did not
     20    contain complete and accurate records of
     21    all controlled substances.
     22                         Do you see that statement?
     23               A.        Yes.
     24               Q.        Retention samples resulting
   Golkow Litigation Services                                               Page 63
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      1    from the manufacturing process were not
      2    included in the inventories.
      3                         Do you see that?
      4               A.        Yes.
      5               Q.        What are retention samples?
      6               A.        When they would break down a
      7    bottle and put it into, say, blister
      8    packs, for example, there would not --
      9    they would have to save certain tablets
     10    and put them -- keep them on file,
     11    basically, of something that went out as
     12    it was broken down into different
     13    packaging.
     14                         So they had to keep
     15    something in the building.                  So those
     16    tablets needed to be accounted for.
     17               Q.        But they hadn't done that,
     18    right?
     19               A.        Per this, yes.
     20               Q.        It appears they hadn't done
     21    that?
     22               A.        It appears they hadn't done
     23    that.
     24               Q.        There was some missing
   Golkow Litigation Services                                               Page 64
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      1    product, right?
      2               A.        Yes.
      3               Q.        And then they say, Damaged
      4    controlled substances stock retained by
      5    the firm -- meaning Lake Erie Medical,
      6    right?
      7               A.        Yes.
      8               Q.        -- was not included in the
      9    inventories.
     10                         Do you see that statement?
     11               A.        Yes.
     12               Q.        So that means that if they
     13    claimed that some product was somehow
     14    damaged, they didn't keep track of that?
     15               A.        It appears so.
     16               Q.        That's not good, is it?
     17                         MS. KOSKI:        Object to form.
     18                         THE WITNESS:         No.
     19    BY MR. PENNOCK:
     20               Q.        Mr. Cochrane did not bring
     21    this to your attention when he asked you
     22    to increase from 1,400 percent to 2,400
     23    percent two weeks later, did he?
     24                         MS. KOSKI:        Object to form.
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      1                         THE WITNESS:         I don't
      2               recall.
      3    BY MR. PENNOCK:
      4               Q.        It doesn't appear that he
      5    did?
      6                         MS. KOSKI:         Object to form.
      7                         THE WITNESS:         Agree.
      8    BY MR. PENNOCK:
      9               Q.        I mean, if he had brought
     10    that to your attention, you -- under your
     11    protocol, you wouldn't have approved
     12    this, would you?
     13                         MS. KOSKI:         Object to form.
     14                         THE WITNESS:         There would
     15               have been more information that I
     16               would have needed to see.                 But
     17               this would have been alarming.
     18    BY MR. PENNOCK:
     19               Q.        Okay.
     20                               -   -    -
     21                         (Whereupon, Anda-Paonessa
     22               Exhibit-7,
     23               Anda_Opioids_MDL_0000258573, was
     24               marked for identification.)
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      1                             -    -    -
      2    BY MR. PENNOCK:
      3               Q.        Let me show you what's
      4    marked as Exhibit-7 to your deposition.
      5    It's an e-mail bearing 0000258673.
      6                         MS. KOSKI:        You gave me a
      7               different document.
      8    BY MR. PENNOCK:
      9               Q.        So this is five months later
     10    and Cochrane, Michael Cochrane, e-mails
     11    you and Patrick Cochrane.
     12                         Is that his brother?
     13               A.        Yes.
     14               Q.        And he says, What do you
     15    want to increase Harvard to?
     16                         Do you see that?
     17               A.        Yes.
     18               Q.        He's talking about another
     19    drug distributor, right?
     20                         MS. KOSKI:        Object to form.
     21                         THE WITNESS:         He was a
     22               wholesaler, but yes.
     23    BY MR. PENNOCK:
     24               Q.        Okay.     Wholesaler.
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      1                         Do you draw -- is there some
      2    distinction between a distributor and a
      3    wholesaler?
      4               A.        Yeah, the full-line
      5    wholesaler versus a distributor.                     A
      6    distributor is more of a secondary or
      7    tertiary to pharmacies around the
      8    country, where a full-line wholesaler, he
      9    would be selling everything to most of
     10    his accounts; but he also operated
     11    slightly as a distributor, too, with some
     12    telesales, which wasn't really common in
     13    our industry.
     14               Q.        So he asked you, What do you
     15    want to increase Harvard to?
     16                         And Harvard was a wholesaler
     17    of --
     18               A.        Yes.
     19               Q.        -- products, including
     20    pharmaceuticals, right?
     21               A.        Yes.
     22               Q.        And this has nothing to do
     23    with Harvard College?
     24               A.        No.
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      1               Q.        Or Harvard University?
      2               A.        No.
      3               Q.        This was a wholesaler
      4    located in -- around Detroit, Michigan?
      5               A.        Yes.
      6               Q.        And he says, Jay is working
      7    on getting an Oxy order.
      8                         Who is Jay?
      9               A.        He was the head of
     10    procurement.          He was the one that had to
     11    do the order forms if we were selling or
     12    we were buying.
     13               Q.        So Jay was in charge of
     14    buying Oxy for you that you would then
     15    sell to someone else?
     16                         MS. KOSKI:        Object to form.
     17    BY MR. PENNOCK:
     18               Q.        In part?
     19               A.        No.    Jay -- Jay Barrett was
     20    the head of purchasing -- or procurement,
     21    part of purchasing, but procurement,
     22    where you order the product versus where
     23    you're negotiating with vendors on price
     24    and stuff like that.
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      1                         So it appears that there was
      2    an order coming from Harvard, because
      3    they didn't have sales reps and stuff for
      4    Harvard, they would have dealt directly
      5    with our procurement department.                     And
      6    that's what I believe that is.
      7                         There's so much behind this
      8    that I don't see here.                But I -- you
      9    know, there had to have been a
     10    discussion.          I truly would not have just
     11    written 200,000 and sent an e-mail.
     12    There was a conversation about this in
     13    person.
     14               Q.        Because he says, Jay is
     15    working on getting an Oxy order for 288
     16    pieces of each strength, approximately
     17    115,000 doses.
     18               A.        The math doesn't even seem
     19    to work for that, if it's 288 pieces of
     20    each strength.           There's only four
     21    strengths.         So I don't know totally what
     22    that means.
     23               Q.        Well, at least we can --
     24    your interpretation is that Harvard
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      1    wanted to buy 115,000 doses?
      2               A.        Correct.
      3               Q.        And you wrote back, 200,000,
      4    right?
      5               A.        Correct.        I don't recall why
      6    I wrote 200,000, though.
      7               Q.        You knew -- you knew and
      8    were friends with someone at Harvard,
      9    weren't you?
     10               A.        Yes.
     11               Q.        Terry Hass, was he one of
     12    the guys?        Or who were you friends with
     13    there?
     14               A.        Actually, ironically, his
     15    name is Jay; it's Jay Levine, though.
     16                         And back in 2007, Terry Hass
     17    wasn't there yet.              So it would still be
     18    Jay Levine.
     19                               -    -    -
     20                         (Whereupon, Anda-Paonessa
     21               Exhibit-8,
     22               Anda_Opioids_MDL_0000258572, was
     23               marked for identification.)
     24                             -     -    -
   Golkow Litigation Services                                               Page 71
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      1    BY MR. PENNOCK:
      2               Q.        Let me show you Exhibit-8.
      3    It's a little confusing.
      4                         MR. PENNOCK:         Exhibit-7, by
      5               the way, if I didn't read it, was
      6               0000258573.
      7                         Exhibit-8 is 0000258572.
      8    BY MR. PENNOCK:
      9               Q.        So we have -- this is
     10    another e-mail thread, right?                    It's
     11    different than the one I just showed you
     12    in Exhibit-7, isn't it?
     13               A.        Correct.
     14               Q.        But it's on the same date,
     15    November 9th.
     16                         Do you see that?
     17               A.        Yes.
     18               Q.        So the one we just looked
     19    at, Cochrane e-mailed you at 9:18 a.m.,
     20    What do you want to increase Harvard to?
     21                         And you wrote back at 2:23
     22    p.m., 200,000.
     23                         Right?
     24               A.        Correct.
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      1               Q.        Now we look at Exhibit-8
      2    from the same day, and Cochrane e-mails
      3    you at 10:00 a.m.             This time he includes
      4    Kim Bloom.
      5                         She was in sales, right?
      6               A.        Yes.
      7               Q.        And he includes Jay Barrett,
      8    who you referred to earlier.                   He wasn't
      9    on the other e-mail we looked at.
     10                         Do you see that?
     11               A.        Yes.
     12               Q.        It says, Subject:            Approval.
     13    Al, I need your approval to change the
     14    monthly dosage limit percentage on the




     18                         Do you see that?
     19               A.        Yes.
     20               Q.        And at 3:05 p.m. you wrote,
     21    Approved.
     22                         Right?
     23               A.        Yes.
     24               Q.        This is the second time.                I
   Golkow Litigation Services                                               Page 73
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      1    mean, you approved -- you approved it --
      2    you approved it at 2:23 p.m., you said
      3    200,000 -- well, you said 200,000, right?
      4               A.        Correct.
      5               Q.        And then -- but he had
      6    previously written to you 200,000 earlier
      7    that day?
      8                         MS. KOSKI:        Object to form.
      9    BY MR. PENNOCK:
     10               Q.        Do you see that?
     11               A.        Okay.     Yes.
     12               Q.        So can you explain to me
     13    what transpired here?               I mean, you're --
     14               A.        What I believe transpired
     15    here is that we had the discussion about
     16    it, I agreed to it.              I had -- I had
     17    responded to this e-mail before I
     18    responded to the second e-mail.
     19                         So in the earlier e-mail,
     20    because we were verbally talking to each
     21    other, I had said, you know, that we
     22    would do 200,000.             And I responded to
     23    that later in the afternoon.
     24                         He had already -- because he
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      1    knew I was already going to agree to
      2    200,000, he had sent this, at 10:00 a.m.,
      3    to me, because this was really the
      4    official one that we used for approvals.
      5                         So that's when he sent it to
      6    me.     But I didn't approve -- I must have
      7    responded to that one and he probably
      8    came and told me.             Because, again, we're
      9    across the hall, you got to respond to
     10    the other one, which is the one that we
     11    use in our files.
     12                         So I did end up responding
     13    to his second e-mail that came, you know,
     14    40 minutes later.




     17    month?
     18               A.        Yes.
     19               Q.        And that's a massive amount,
     20    isn't it?
     21                         MS. KOSKI:        Object to form.
     22                         THE WITNESS:         I don't
     23               believe it's a massive amount for
     24               a wholesaler his size, no.
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                                                                              Review

      1    BY MR. PENNOCK:
      2               Q.        Really?
      3                         MS. KOSKI:        I didn't hear
      4               you say something, but then
      5               there's an indication on the
      6               transcript that you said "really."
      7                         Did you ask that question?
      8               Or was that just -- is there
      9               something pending?
     10                         MR. PENNOCK:         I may have
     11               said that.         This entire case blows
     12               my mind.
     13                         MS. KOSKI:        Move to strike
     14               the colloquy.
     15                         MR. PENNOCK:         Well, we'll
     16               get to another aspect of that.
     17    BY MR. PENNOCK:
     18               Q.        Whether it's a massive
     19    amount for a wholesaler that size or not,
     20    you agree with me that 200,000 units is
     21    not something to joke about --
     22                         MS. KOSKI:        Object to form.
     23    BY MR. PENNOCK:
     24               Q.        -- right?
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      1               A.        I agree.
      2                               -    -    -
      3                         (Whereupon, Anda-Paonessa
      4               Exhibit-9,
      5               Anda_Opioids_MDL_0000091168-176,
      6               was marked for identification.)
      7                             -     -    -
      8    BY MR. PENNOCK:
      9               Q.        Let me show you what's been
     10    marked as Exhibit-9 to your deposition.
     11                         MS. KOSKI:          Thank you.
     12                         He wants to know if you want
     13               him to read the entire article?
     14                         THE WITNESS:          I know what --
     15               I know what --
     16                         MR. PENNOCK:          I'm happy to
     17               direct you to portions, and then
     18               you can read whatever you'd like
     19               after I do that.
     20                         MS. KOSKI:          If you have
     21               questions like that, if you direct
     22               that to him, it's better than
     23               directing it to me.
     24                         THE WITNESS:          Okay.
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      1    BY MR. PENNOCK:
      2               Q.        I've marked as Exhibit-9 to
      3    your deposition.            The Bates number --
      4    it's an e-mail with an attachment.                      It's
      5    Bates number 0000091168.
      6                         So what we have here is,
      7    it's an e-mail that -- it's a little
      8    tough to follow this thread, but
      9    someone -- there we go.
     10                         David Liming, do you know
     11    who that is?
     12               A.        No.
     13               Q.        David Liming sent an
     14    e-mail -- well, it's very hard to follow
     15    in the manner it was produced.
     16                         But it says to David Liming,
     17    Oxy and Harvard.            Thanks, Dave.           It is a
     18    great pleasure to be mentioned in the
     19    same article as two convicted felons.                        Be
     20    well, TH.
     21                         TH is Terry Hass, right?
     22                         Right?
     23               A.        Yes.
     24               Q.        And you know who he is?
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      1               A.        Yes.
      2               Q.        You didn't know Liming, but
      3    you knew him, right?
      4               A.        Yes.
      5               Q.        And this e-mail thread is in
      6    June of 2012, right?
      7               A.        Yes.
      8               Q.        And then Terry Hass --
      9    sorry, David Liming responds back to
     10    Terry Hass -- both of them worked at the
     11    Harvard Drug Group, right?
     12               A.        Yes.
     13               Q.        And he responds back, Now,
     14    that is funny.           You made my day.
     15                         Do you see that?
     16               A.        Yes.
     17               Q.        And then Terry forwarded the
     18    thread and the attachment to you?
     19               A.        Yes.
     20               Q.        And the attachment that
     21    Terry sent to you is a Business Week
     22    article entitled, American Pain, the
     23    Largest U.S. Pill Mill's Rise and Fall.
     24                         Do you see that?
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      1               A.        Yes.
      2               Q.        And this article, I won't
      3    get into too much detail, but it talks
      4    about -- it specifically mentions, it
      5    says, George says --
      6                         MS. KOSKI:        Where are you?
      7               I'm just trying to follow along
      8               where you are.
      9                         MR. PENNOCK:         Sorry, Page 5.
     10    BY MR. PENNOCK:
     11               Q.        It said, quote, in the
     12    article it says, George says that as his
     13    business in Florida expanded, he
     14    struggled to buy enough opioids to keep
     15    up with the demand.              His stable of almost
     16    a dozen wholesalers ranged from tiny
     17    local operations, such as Medical Arts
     18    Pharmacy in St. Petersburg, to a couple
     19    of national distributors, including
     20    Harvard Drug Group based in Livonia,
     21    Michigan, one of the ten largest
     22    wholesalers of generic drugs in the
     23    country.
     24                         Do you see that statement?
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      1               A.        Yes.
      2               Q.        And that's the very company


      4    sale to about four years earlier, right?
      5               A.        Yes.
      6               Q.        And about -- and, sir, about
      7    two and-a-half years after you approved


      9    suspended their license to distribute
     10    controlled substances, didn't they, in
     11    June of 2010?
     12               A.        Yes.
     13                         MS. KOSKI:        Object to form.
     14    BY MR. PENNOCK:
     15               Q.        And, now, having received
     16    this article -- withdrawn.
     17                         Did you know, before you
     18    received this article, that Harvard was a
     19    major supplier of one of America's
     20    largest pill mills?
     21                         MS. KOSKI:        Object to form.
     22                         THE WITNESS:         No.
     23    BY MR. PENNOCK:
     24               Q.        Well, when you saw that back
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      1    in 2012, knowing that you had been
      2    selling to Harvard a lot of opioids, did
      3    it disturb you that you had been
      4    providing opioids that may have been
      5    diverted to America's largest pill mill?
      6                         MS. KOSKI:        Object to form.
      7               Assumes facts not in evidence.
      8                         THE WITNESS:         Yes.
      9    BY MR. PENNOCK:
     10               Q.        Did it disturb you that
     11    these guys were joking around about this?
     12                         MS. KOSKI:        Object to form.
     13                         THE WITNESS:         I don't -- I
     14               don't recall this e-mail at all.
     15    BY MR. PENNOCK:
     16               Q.        Were you paying attention to
     17    anything that was going on?
     18                         MS. KOSKI:        Object to form.
     19    BY MR. PENNOCK:
     20               Q.        With respect to opioids and
     21    their distribution and diversion at that
     22    time?
     23                         MS. KOSKI:        Object to form.
     24               You don't need to answer that.
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      1               That's inappropriate.
      2                         You can ask a question and
      3               answer.
      4                         MR. PENNOCK:         I'm asking
      5               him.
      6    BY MR. PENNOCK:
      7               Q.        What do you feel that you
      8    were paying the most attention to with
      9    regard to the distribution and potential
     10    diversion of opioids at that time?
     11                         MS. KOSKI:        Object to form.
     12                         What time?
     13                         MR. PENNOCK:         June of 2012.
     14                         THE WITNESS:         I don't
     15               remember exactly when I stopped
     16               selling Harvard, but it was well
     17               before that.          Harvard would have
     18               probably been stopped in 2009 or
     19               '10.      So, I mean, I'm not sure of
     20               the exact dates, but they lost
     21               their license in '10, correct?
     22                         So -- and I -- so it's a
     23               great article about what happened.
     24               I explained to my guys, this is
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      1               why we got out of the selling --
      2               we stopped, ourselves, well before
      3               Harvard lost their license of
      4               selling to physicians.
      5               Proactively, on our own, we did
      6               that.
      7    BY MR. PENNOCK:
      8               Q.        I see they were very upset
      9    with you about that, since they're
     10    sending you this article two years later.
     11                         MS. KOSKI:        Object to form.
     12                         THE WITNESS:         They were
     13               making fun of the previous owners,
     14               is what they were doing.
     15    BY MR. PENNOCK:
     16               Q.        You agree with me that it's
     17    likely that some of the opioids that you
     18    sold to Harvard did end up in diversion
     19    through at least this -- this group that
     20    was the subject of this article, right?
     21                         MS. KOSKI:        Object to form.
     22               Calls for speculation.
     23                         You can answer that if you
     24               can possibly know it.
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      1                         THE WITNESS:          It's possible.
      2    BY MR. PENNOCK:
      3               Q.        It's likely?
      4                         MS. KOSKI:          Object to form.
      5                         THE WITNESS:          It's possible.
      6                         MR. PENNOCK:          Why don't we
      7               take a quick break?
      8                         VIDEO TECHNICIAN:            Going off
      9               record.       The time is 11:21.
     10                               -    -    -
     11                         (Whereupon, a brief recess
     12               was taken.)
     13                             -     -    -
     14                         VIDEO TECHNICIAN:            We are
     15               going back on record.               Beginning
     16               of Media File Number 2.                The time
     17               is 11:35.
     18    BY MR. PENNOCK:




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      3               Q.        Is that where you grew up?
      4               A.        Yes.
      5               Q.        Did you see this news report
      6    on -- take a look at this, marked as
      7    Exhibit-10 to your deposition.
      8                               -    -    -
      9                         (Whereupon, Anda-Paonessa
     10               Exhibit-10, PBS.org; Understanding
     11               the Opioid Epidemic, Michael?s
     12               Story, was marked for
     13               identification.)
     14                             -     -    -
     15                         MS. KOSKI:          You might have
     16               given me your -- there's a
     17               handwritten note on this.                 I don't
     18               know if there's more.
     19                         MR. PENNOCK:          It's just my
     20               10.
     21    BY MR. PENNOCK:
     22               Q.        I'm just wondering, is
     23    that -- because you're from this area,
     24    did you ever see this news report?
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      1               A.        No.
      2               Q.        Have you seen news reports
      3    regarding opioid deaths in the United
      4    States --
      5               A.        Yes.
      6               Q.        -- individuals and so forth?
      7                         MS. KOSKI:          Let him finish
      8               his question.
      9                         THE WITNESS:          Yes.
     10    BY MR. PENNOCK:
     11               Q.        At one point, in April of
     12    2009, you were sent something -- well,
     13    you probably don't recall.                  I'll show it
     14    to you.
     15                               -    -    -
     16                         (Whereupon, Anda-Paonessa
     17               Exhibit-11,
     18               Allergan_MDL_01030377-3738, was
     19               marked for identification.)
     20                             -     -    -
     21    BY MR. PENNOCK:
     22               Q.        This is Exhibit-11 to your
     23    deposition is an e-mail that was sent to
     24    you, Michael Cochrane, Patrick Cochrane,
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      1    from Tracey Hernandez at Watson.                     It
      2    bears Bates number Allergan_MDL_01033 --
      3    I'll start again --
      4    Allergan_MDL_01030377.                That's
      5    Exhibit-11.
      6               A.        Okay.
      7               Q.        So Watson was essentially
      8    the company that owned you, right?
      9               A.        Yes.
     10               Q.        Meaning owned Anda.
     11                         And this e-mail was sent in
     12    April 2009 to a number of people,
     13    including you, right?
     14               A.        Yes.
     15               Q.        And she's reporting to you
     16    about a rule, a new rule that had been
     17    published concerning marketing, right?
     18                         MS. KOSKI:        Object to form.
     19                         THE WITNESS:         That's what it
     20               says there, yes.
     21    BY MR. PENNOCK:
     22               Q.        And she's also referencing
     23    a -- she's referencing a new law
     24    regarding what's called The Ryan Haight
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      1    Act.
      2                         Do you see that?
      3               A.        Yes, it's there.            Yes.
      4               Q.        And it's -- the new law is
      5    trying to -- or making an effort to help
      6    prevent use of the Internet to advertise
      7    the sale of or offer to sell, distribute
      8    or dispense a controlled substance,
      9    right?
     10                         MS. KOSKI:        You're asking
     11               him if that's what the document
     12               says?
     13    BY MR. PENNOCK:
     14               Q.        Do you see where --
     15                         MR. PENNOCK:         Yes.
     16    BY MR. PENNOCK:
     17               Q.        Is that what the document
     18    says?
     19               A.        That's what I'm reading,
     20    yes.
     21               Q.        All right.        And did she --
     22    was she above you, Tracey Hernandez?
     23                         MS. KOSKI:        Object to form.
     24    BY MR. PENNOCK:
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      1               Q.        In other words, was she sort
      2    of one of your people that were higher up
      3    than you, because she's at Watson?
      4                         No?
      5               A.        No, I don't believe so.
      6               Q.        In any event, she makes a
      7    statement in here that there should be a
      8    review of your marketing efforts.
      9                         Do you see that?
     10               A.        Yes.
     11               Q.        Now, Anda did promote
     12    opioids, didn't they?
     13               A.        Yes.
     14               Q.        I'd like to go through some
     15    of that with you.
     16                               -    -    -
     17                         (Whereupon, Anda-Paonessa
     18               Exhibit-12,
     19               Anda_Opioids_MDL_0000611326-327,
     20               was marked for identification.)
     21                             -     -    -
     22                         MS. KOSKI:          Thank you.
     23    BY MR. PENNOCK:
     24               Q.        Exhibit-12 to your
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      1    deposition is
      2    Anda_Opioids_MDL_0000611326.
      3               A.        Okay.
      4               Q.        This is an e-mail where it
      5    is being proposed for approval -- well,
      6    first, let me start.
      7                         This is in -- this is in
      8    April of 2007, right?
      9               A.        Yes.
     10               Q.        True?
     11               A.        Yes.
     12               Q.        And it's the spring promo
     13    2007?
     14               A.        Yes.
     15               Q.        And it's to you and Brian
     16    Witte, who was in sales, Witte?
     17               A.        In 2007, he would have
     18    been -- I believe he was in operation --
     19    sales operations, yes.
     20               Q.        It says, Al, per our
     21    discussion, please approve/offer feedback
     22    on the spring promo format.
     23                         Do you see that statement?
     24               A.        Yes.
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      1               Q.        You should know that Jay and
      2    his team are getting buy-in or sales-out
      3    promos as best they can, too, in
      4    conjunction with this.
      5                         Do you see that statement?
      6               A.        Yes.
      7               Q.        We added a 1.25 times tier
      8    for 5 percent and a 1.5 times tier for 6
      9    percent.
     10                         Right?      Do you see that?
     11               A.        Yes, that's what it says.
     12               Q.        Brian, confirm dating,
     13    please.
     14                         Do you see that statement?
     15               A.        Yes.
     16               Q.        That refers to giving
     17    buyers, like, lines of credit, right?
     18               A.        No.
     19                         MS. KOSKI:        Object to form.
     20    BY MR. PENNOCK:
     21               Q.        Doesn't that -- that doesn't
     22    refer to giving them, like, time to pay
     23    you, like, 30 days or 60 days?
     24               A.        I believe that this is the
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      1    buy side from us from manufacturers
      2    they're talking about, not the sale to
      3    the customer.
      4               Q.        Okay.     In any event, the
      5    actual promo is on the next page.
      6               A.        Correct.
      7               Q.        And it says that -- it goes
      8    on to indicate the different discounts
      9    that you're going to offer for your
     10    products, right?
     11               A.        Yes.
     12               Q.        And that includes C-II
     13    items, true?
     14               A.        Yes.
     15               Q.        And C-II items included
     16    opioids, right?
     17               A.        Yes.
     18               Q.        And you were going to give 5
     19    percent off minimum order of 1.25 times
     20    the average C-II purchases on generic
     21    items.
     22                         Do you see that?
     23               A.        Yes.
     24               Q.        So that means that if their
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      1    average had been -- whatever their
      2    average was, if they ordered 25 percent
      3    more than their average, you would give 5
      4    point -- you would give 5 percent off?
      5               A.        Yes.
      6               Q.        And, again, what is the 60
      7    days dating?          What does that mean?
      8               A.        So there was extended dating
      9    of when the customer had to pay, yes.
     10               Q.        So you were giving -- so you
     11    were giving them time to pay; order now,
     12    pay later?
     13               A.        Yes.
     14               Q.        Right?
     15               A.        Yes.
     16               Q.        90 days -- if they went up
     17    to 50 percent more than their average
     18    C-II purchases, generic items only, you
     19    would give them 6 percent off and 90 days
     20    to pay?
     21               A.        That's what it says, yes.
     22               Q.        What kind of discussion did
     23    you have about doing promotionals like
     24    this for controlled substances?
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      1                         MS. KOSKI:          Object to form.
      2                         THE WITNESS:          You're going
      3               back to early, you know, 2000 --
      4               late 2006, these discussions would
      5               have happened.            And at that point,
      6               you know, we weren't -- it wasn't
      7               the same environment that it is
      8               today, or even 2009, '10, '11.
      9                         So we weren't afraid at that
     10               point to, you know, do an overall
     11               spring promotion that included
     12               C-IIs.       It wasn't a spring
     13               promotion for C-IIs, it just
     14               happened to be that C-IIs were
     15               part of it.
     16                               -    -    -
     17                         (Whereupon, Anda-Paonessa
     18               Exhibit-13,
     19               Anda_Opioids_MDL_0000108236-243,
     20               was marked for identification.)
     21                             -     -    -
     22    BY MR. PENNOCK:
     23               Q.        I'm going to show you Bates
     24    number Anda_Opioids_MDL_0000108236, is
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      1    the initial Bates number.                 It ends in
      2    243.      The Bates got cut off in the
      3    photocopy.         Just take a moment and look
      4    at that.
      5               A.        Okay.
      6               Q.        So this is a -- this
      7    document, Exhibit --
      8                         MR. PENNOCK:         What Exhibit
      9               number is this?
     10                         MS. KOSKI:        13.
     11                         MR. PENNOCK:         13.
     12               Exhibit-13.
     13    BY MR. PENNOCK:
     14               Q.        So let's take a look at
     15    Exhibit-13.
     16                         This is Anda C-II product
     17    listing, right?
     18               A.        Yes.
     19               Q.        Your source for Class II
     20    generic and branded controlled substance
     21    products.
     22                         Right?
     23               A.        Yes.
     24               Q.        This is something that you
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      1    would send out to potential customers,
      2    right?
      3               A.        Yes.
      4               Q.        And the first page --
      5               A.        No, I take -- I recall that
      6    statement.
      7                         This was what we would have
      8    sent to current customers.
      9               Q.        To current customers?
     10               A.        Current customers.
     11               Q.        Okay.     And -- meaning people
     12    that were currently buying something from
     13    you, whatever it was?
     14               A.        Whatever; controls, not
     15    controls.
     16               Q.        So I just -- I'd like to go
     17    over this.
     18                         First of all -- well, I'll
     19    come back to that.
     20                         Ordering C-IIs from Anda is
     21    easier than ever.
     22                         Right?      Do you see that?
     23               A.        Yes.
     24               Q.        Did you approve this?
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      1               A.        Yes.
      2               Q.        Two quick and convenient
      3    steps to schedule a paper 222 form
      4    pickup.
      5                         So this is talking about,
      6    we'll get you the form so that you can
      7    buy C-IIs, and then we'll even pick it up
      8    and bring it back to us so we can process
      9    the order, right?
     10               A.        Yes.
     11               Q.        And it goes on to describe
     12    the two easy steps.
     13                         Fill out your paper 222
     14    form.      And then Number 2, Schedule a
     15    pickup online or call for sales
     16    representative.
     17               A.        Correct.
     18               Q.        It gives you a little how to
     19    do it and so forth, right?
     20                         And reminds you, you can
     21    always call Fed Ex directly to schedule a
     22    pick up if you have the pre-addressed Fed
     23    Ex envelope from Anda/VIP.
     24                         Do you see that statement?
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      1               A.        Yes.
      2               Q.        And, I mean, it's got these
      3    other things here.             Goodbye paper, as
      4    always, you can eliminate paper 222 forms
      5    and get live on CSOS, controlled
      6    substances ordering system, right?
      7               A.        Yes.
      8               Q.        That was the Anda system
      9    that your customers could use?
     10               A.        It was an -- all
     11    distributors had that system.
     12               Q.        You had it?
     13               A.        Yes.     We worked closely with
     14    the DEA to develop some of it ourselves.
     15               Q.        Now offering a full line of
     16    brand and generic C-II products.
     17                         Do you see that statement?
     18               A.        Yes.
     19               Q.        So this would go out to
     20    existing customers, and then you would
     21    actually give them the list of what you
     22    had stocked?
     23               A.        Yes.
     24               Q.        And I -- this highlighting
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      1     is mine, of course, it's not on yours.
      2                         But first we have -- so I've
      3     highlighted all the C-IIs that are
      4     involved in this case.
      5                         You'll see fentanyl, right?
      6                A.       Yes.
      7                Q.       And then oxycodone with
      8     ibuprofen.         You've got hydromorphone down
      9     here.      There's the oxycodone/ibuprofen.
     10                         All these that are all on
     11     this list.         This is morphine -- you've
     12     got fentanyl, morphine, oxycodone with
     13     acetaminophen, the Tylenol, right, APAP?
     14                A.       Yes.
     15                Q.       It goes on.
     16                         So you would agree with me
     17     that we look at these listings, start
     18     with the generics, that -- I did a
     19     calculation.          I'll tell you that 78.33
     20     percent of the drugs listed are either
     21     fentanyl or an opioid.
     22                         Does that seem about right
     23     to you?
     24                         MS. KOSKI:         Object to form.
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      1                         THE WITNESS:          Yes.
      2     BY MR. PENNOCK:
      3                Q.       So what was the purpose of
      4     this?
      5                A.       We were a full-line
      6     distributor at that point, carrying all
      7     C-IIs.      Most C-IIs were opioids, but we
      8     carried all C-IIs, Adderall, demerol,
      9     Dilaudid, Dolophine.              They were all
     10     carried.        We carried every one.
     11                         We were a secondary to
     12     pharmacies around the country.                    And we
     13     carried every item, every generic item.
     14     And then we started to carry the brand
     15     items also, because we became a secondary
     16     for chains, too, around the country.
     17                Q.       What was the -- okay.               But
     18     what was the purpose of sending this out
     19     with these --
     20                A.       We were an alternative --
     21                Q.       -- instructions?
     22                A.       We were an alternative
     23     source.       And one of the -- we did want to
     24     make -- it was more difficult for a
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      1     pharmacy to, you know, go to Fed Ex on
      2     their own, pick up their own slip, pay
      3     for it on their own.
      4                         So we made it simpler for
      5     them than to hand it to our competitor,
      6     which would have been the big three
      7     wholesalers.
      8                         And then --
      9                Q.       Why did you want to make it
     10     simpler for them to order these -- in
     11     particular, these opioids and fentanyl?
     12                A.       I gave them an opportunity
     13     to buy it from somebody else, which was
     14     me.
     15                Q.       I'm sorry?         You did what?          I
     16     didn't understand your answer.
     17                A.       I was one of the many
     18     competitors that sold C-IIs, and I just
     19     made it easier for my customers,
     20     business-wise on their side.
     21                Q.       This is -- the date that I
     22     found on here says, Updated January 2010.
     23                A.       Okay.
     24                Q.       Do you see that?
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      1                A.       Yes.
      2                Q.       Earlier, a few minutes ago,
      3     you mentioned that the environment in
      4     2006 was -- you weren't as afraid as you
      5     were, because the environment changed in
      6     2009, 2010, 2011.
      7                         Do you remember saying that?
      8                A.       Yes, I do.
      9                Q.       So by January 2010, whatever
     10     you perceived the environment to be in
     11     2007, it certainly had changed in terms
     12     of the opioid issue in America, hadn't
     13     it?
     14                         MS. KOSKI:         Object to form.
     15                         THE WITNESS:          Yes.
     16     BY MR. PENNOCK:
     17                Q.       And did anyone, including
     18     you, sit back and say, maybe we shouldn't
     19     make it easier for people to buy these
     20     opioids; maybe we should make it harder
     21     for them to do so?
     22                A.       We did make it harder.                They
     23     couldn't just buy it because I had it.
     24     We made it harder for them to order it
    Golkow Litigation Services                                             Page 103
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
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                                                                               Review

      1     based on our due diligence that we did.
      2                         Using us as a supplier and
      3     making it easier for them to buy from us,
      4     yes, we did that.             We converted to CSOS
      5     also, which was very important to the
      6     DEA, because they gave them better
      7     visibility into it.              So we did that.
      8                         But nothing changed of how
      9     we looked at people in 2010 -- I mean, it
     10     changed of how we looked at it.                     It was
     11     much more stringent and harder than it
     12     was in 2006 and '07 to buy from us.
     13                         Just because I had the
     14     products and gave them an easier way to
     15     mail me a form did not make it easier for
     16     them to acquire the product from me.
     17                Q.       You just said that you were
     18     doing this to make it easier for them;
     19     you just said that.
     20                A.       To mail in their form,
     21     that's what I said.
     22                Q.       Make it easier to get the
     23     product?
     24                A.       It didn't make it easier to
    Golkow Litigation Services                                             Page 104
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
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                                                                               Review

      1     get 5,000 tablets or more, no.                    That's
      2     not what I said.
      3                         I said it was easier for
      4     them to order, not to get more product.
      5                Q.       Right.         So did you ever sit
      6     back and say, maybe we shouldn't make it
      7     so easy for them to order?
      8                         MS. KOSKI:           Object to form.
      9                         THE WITNESS:           I didn't -- I
     10                don't think about it in the
     11                context that you're conveying now,
     12                no.
     13                                -    -    -
     14                         (Whereupon, Anda-Paonessa
     15                Exhibit-14,
     16                Anda_Opioids_MDL_0000109074-073,
     17                was marked for identification.)
     18                                -    -    -
     19                         (Whereupon, a discussion off
     20                the record occurred.)
     21                              -     -    -
     22     BY MR. PENNOCK:
     23                Q.       Allow me to show you,
     24     please, Exhibit-14 to your deposition.
    Golkow Litigation Services                                             Page 105
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further106Confidentiality
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                                                                               Review

      1     Anda_Opioids_MDL_00000109074.                   I'd like
      2     to show you 073 followed by 074.
      3                A.       Okay.
      4                Q.       So this is another promotion
      5     that you sent out, right?
      6                A.       Yes.
      7                Q.       This, apparently, is -- this
      8     is a promotion to have your customers
      9     participate in the controlled substances
     10     ordering system online?
     11                A.       Yes.
     12                Q.       And if they did so, they
     13     would get 10 percent off generic C-II
     14     items on their first CSOS order.
     15                A.       Correct.
     16                Q.       And the second page lists
     17     the top C-II products available through
     18     Anda.
     19                         Do you see that?
     20                A.       Yes.
     21                Q.       And there's Concerta and
     22     then it has OxyContin, generic Actiq --
     23     that's a fentanyl product, right?
     24                A.       Yes.
    Golkow Litigation Services                                             Page 106
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
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                                                                               Review

      1                Q.       Generic codeine sulfate.
      2     Generic Dolophine.             Generic Roxicodone.
      3     Generic Percocet.             Generic MSIR.          Generic
      4     MS-Contin.         Generic Duragesic.
      5                         Do you see each of those
      6     listed on this?
      7                A.       Yes.
      8                Q.       Are you ready for CSOS?
      9                         Do you see that?
     10                A.       CSOS, they call it.
     11                Q.       CSOS.
     12                         Of all the controlled
     13     substances you were talking about a few
     14     minutes ago that you sold -- let's see,
     15     one, two, three, four, five, six, seven,
     16     eight, nine, ten, eleven, twelve -- ten
     17     of the -- I'm sorry, nine of the twelve
     18     that you put on were either fentanyl or
     19     an OxyContin on this sheet.
     20                         MS. KOSKI:         Object to form.
     21                         THE WITNESS:          I don't
     22                remember what our entire list of
     23                C-IIs by brand names were, so --
     24                on what you're showing me, yes,
    Golkow Litigation Services                                             Page 107
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further108Confidentiality
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                                                                               Review

      1                it's nine out of twelve.
      2                                -    -    -
      3                         (Whereupon, Anda-Paonessa
      4                Exhibit-15, Anda; Back in Stock
      5                and Last Chance Flyer, was marked
      6                for identification.)
      7                              -     -    -
      8     BY MR. PENNOCK:
      9                Q.       I'm going to show you
     10     Anda_Opioids_MDL_0000111235.
     11                A.       Okay.
     12                Q.       It's another document --
     13     another promotion that you sent out to
     14     customers, right?
     15                A.       Yes.
     16                         When is it from?
     17                Q.       Hmm?
     18                A.       When is it from?
     19                Q.       Do you know when --
     20                A.       What time period?
     21                Q.       -- it's from?
     22                A.       No.
     23                Q.       What does -- do you have an
     24     idea of when this might be from?
    Golkow Litigation Services                                             Page 108
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further109Confidentiality
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                                                                               Review

      1                A.       No.     I would think it would
      2     be -- well, they have CSOS too, so it
      3     would be early, it would still be early
      4     on trying to get people to use CSOS.
      5                Q.       "Early on" such as when?
      6     Like, what do you mean by "early on"?
      7                A.       '07, '08.        2007, 2008.
      8                         MS. KOSKI:         This is probably
      9                attached to an e-mail, no, that
     10                has a date on it?
     11                         MR. PENNOCK:          No.
     12                         Do you have a date on this
     13                document?
     14                         MR. KENNEDY:          February 23,
     15                2011.
     16                         MR. PENNOCK:          Where are you
     17                getting this from?
     18                         MR. KENNEDY:          From
     19                Relativity.         From the metadata.
     20                         MR. PENNOCK:          The
     21                metadata -- I'll represent to you,
     22                sir, that the metadata says
     23                February 23, 2011.
     24                         THE WITNESS:          Okay.
    Golkow Litigation Services                                             Page 109
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further110Confidentiality
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                                                                               Review

      1     BY MR. PENNOCK:
      2                Q.       Does that seem like a
      3     reasonable date to you for this?
      4                         MS. KOSKI:           Can we go off
      5                for a second?
      6                         MR. PENNOCK:           Sure.
      7                         VIDEO TECHNICIAN:             Going off
      8                record.       The time is 12:04.
      9                                -    -    -
     10                         (Whereupon, a brief recess
     11                was taken.)
     12                              -     -    -
     13                         VIDEO TECHNICIAN:             Going
     14                back on the record.              Beginning of
     15                Media File Number 3.              The time is
     16                12:05.
     17     BY MR. PENNOCK:
     18                Q.       Mr. Paonessa, you indicated
     19     this was probably earlier, like 2009,
     20     based on this number here, S/D 10/09,
     21     right?
     22                A.       Yes.
     23                Q.       And I think you are saying
     24     that's an expiration date?
    Golkow Litigation Services                                             Page 110
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further111Confidentiality
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                                                                               Review

      1                A.       Yes.      And we wouldn't sell
      2     an item that was six months prior to
      3     that.      So the lowest one there is '10, so
      4     this would have gone out in early '09 or
      5     late '08.
      6                Q.       So at that time -- I mean,
      7     this is what I wanted to draw your
      8     attention to, Last chance.
      9                         Do you see that?
     10                A.       That's what's written there.
     11                Q.       That's -- do you -- as you
     12     sit here today looking at that, is it
     13     your view that that was an appropriate
     14     way to market these medications?
     15                         MS. KOSKI:         Object to form.
     16                         THE WITNESS:          I have no
     17                opinion.        I'm selling to a
     18                pharmacist, not the public.                  So
     19                this was --
     20     BY MR. PENNOCK:
     21                Q.       It certainly looks like --
     22                A.       -- this was stuff I had left
     23     in stock.        So, I mean, last chance -- I
     24     don't have an issue with that, that word,
    Golkow Litigation Services                                             Page 111
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further112Confidentiality
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                                                                               Review

      1     in the context of how we used it.                      So --
      2                Q.       Well, you're trying to get a
      3     pharmacist to buy product from you,
      4     right?
      5                A.       Yes.
      6                Q.       And if you don't -- if they
      7     don't buy that product before the
      8     expiration date, I think you said that
      9     would mean you'd have to dispose of the
     10     product?
     11                         MS. KOSKI:           Object to form.
     12                         THE WITNESS:           Yes.
     13                                -    -    -
     14                         (Whereupon, Anda-Paonessa
     15                Exhibit-16, Sales Flyer; Are you
     16                Promoting All of These, was marked
     17                for identification.)
     18                              -     -    -
     19     BY MR. PENNOCK:
     20                Q.       Let me show you Exhibit-16.
     21     This is Anda_Opioids_MDL_0000611426.
     22                A.       Okay.
     23                Q.       This is something you
     24     sent -- it looks like you sent it out
    Golkow Litigation Services                                             Page 112
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further113Confidentiality
                                                           of 226. PageID #: 469569
                                                                               Review

      1     internally to your own salespeople, is
      2     that --
      3                A.       Yes.
      4                Q.       -- what this is?
      5                         Are you promoting all of
      6     these, it says.
      7                         Do you see that?            Right?
      8                A.       Yes, yes.
      9                Q.       When was the last time you
     10     sent flyers to your customers using
     11     Remedy marketing materials?
     12                         MS. KOSKI:         Object to form.
     13     BY MR. PENNOCK:
     14                Q.       Do you see that statement?
     15                A.       No.
     16                         Oh, at --
     17                Q.       It's right here.
     18                A.       -- the top.          Okay.
     19                Q.       When was the last time you
     20     sent flyers to your customers using
     21     Remedy marketing materials?
     22                A.       Okay.      Yes.
     23                Q.       And so this went to your
     24     salespeople to sort of inspire them to
    Golkow Litigation Services                                             Page 113
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further114Confidentiality
                                                           of 226. PageID #: 469570
                                                                               Review

      1     move product; is that right?
      2                A.       To mention to our customers
      3     that we have products, yes.
      4                Q.       And it says, Watson
      5     products.
      6                         Do you see what it says
      7     here?
      8                A.       Yes.
      9                Q.       Watson products brand,
     10     OxyContin OR 10 milligrams, 20
     11     milligrams, 40 milligrams, 80 milligrams,
     12     right?
     13                A.       Yes.
     14                Q.       So you're telling your
     15     salespeople, don't forget about trying to
     16     sell these products, right?
     17                A.       All of these products on the
     18     page, yes.
     19                Q.       All the products on the
     20     page?
     21                A.       All of them, yes.
     22                         This is 2007.
     23                         MS. KOSKI:         Wait for a
     24                question.
    Golkow Litigation Services                                             Page 114
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further115Confidentiality
                                                           of 226. PageID #: 469571
                                                                               Review

      1                                -    -    -
      2                         (Whereupon, Anda-Paonessa
      3                Exhibit-17, Anda; Oxycodone 5%
      4                Off, was marked for
      5                identification.)
      6                              -     -    -
      7     BY MR. PENNOCK:
      8                Q.       Exhibit-17 bears Bates
      9     number Anda_Opioids_MDL_0000611413.
     10                A.       Yes.
     11                Q.       What is this document?
     12                A.       It is -- I would assume it
     13     was something on the Internet, our own
     14     Anda net or VIP Pharm, or it could have
     15     possibly been something that they could
     16     put into a box if a customer requested
     17     information on this item.
     18                         Again, it's early --
     19                Q.       February -- it expires the
     20     end of February 2007.
     21                A.       Right.         So this would have
     22     been done in January or February of 2007.
     23                Q.       Was it the belief, inside of
     24     Anda, that these types of promotional
    Golkow Litigation Services                                             Page 115
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further116Confidentiality
                                                           of 226. PageID #: 469572
                                                                               Review

      1     efforts would help to increase your sales
      2     of opioids?
      3                A.       We had no -- we had no
      4     program or goal whatsoever to sell
      5     opioids as a goal.             We sold all products;
      6     C-II, non-C-II, OTC, vitamins.
      7                Q.       You didn't have any
      8     program -- you didn't have any goal to
      9     sell opioids of any kind?
     10                A.       No.     Absolutely no goal to
     11     sell opioids as a goal within our
     12     organization.
     13                Q.       Well, it was a goal to sell
     14     all your products?
     15                A.       All our products.
     16                Q.       So if one of those products
     17     was Adderall, you had a goal to sell
     18     Adderall, right?
     19                A.       We -- well, I would --
     20     there's no -- I truly believe that
     21     there's no program that we had internally
     22     that I could find that I awarded people
     23     for selling an opioid within our
     24     organization.          You know, I would be upset
    Golkow Litigation Services                                             Page 116
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further117Confidentiality
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                                                                               Review

      1     with myself if I saw that now.
      2                Q.       But you certainly were
      3     making efforts to increase your sales of
      4     opioids throughout these years.
      5                         We've seen some evidence of
      6     that already, haven't we?
      7                A.       There was hundreds of these
      8     type of things for all products that we
      9     had that went out all the time, not just
     10     opioids.
     11                Q.       But in addition to that, I
     12     mean, do you remember we looked early on
     13     in the day at a request you made to your
     14     boss that you wanted to buy about $8
     15     million in Oxy?
     16                A.       Yes.
     17                Q.       Your goal was to get that
     18     Oxy and then to sell it, right?
     19                A.       Yes.      I sent the same type
     20     of request when I requested almost $130
     21     million of Protonics.
     22                Q.       But Protonics hasn't killed
     23     a quarter million people in the United
     24     States, has it?
    Golkow Litigation Services                                             Page 117
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further118Confidentiality
                                                           of 226. PageID #: 469574
                                                                               Review

      1                         MS. KOSKI:           Object to form.
      2                Lacks foundation.
      3                                -    -    -
      4                         (Whereupon, Anda-Paonessa
      5                Exhibit-18,
      6                Anda_Opioids_MDL_0000610161, was
      7                marked for identification.)
      8                              -     -    -
      9     BY MR. PENNOCK:
     10                Q.       I've marked as Exhibit-18 to
     11     your deposition a document bearing Bates
     12     number 0000610161.
     13                A.       Okay.
     14                Q.       Brian Witte wrote an e-mail
     15     and you were cc'd, and it says, If it
     16     moves Dava, approved.
     17                         Right?
     18                A.       Correct.
     19                Q.       And you wrote back, Agree?
     20                A.       Yes.
     21                Q.       And Dava was a form of
     22     OxyContin, right?              A licensed form of
     23     generic Oxy, right?
     24                A.       Yes.
    Golkow Litigation Services                                             Page 118
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further119Confidentiality
                                                           of 226. PageID #: 469575
                                                                               Review

      1                Q.       Al/Brian, please
      2     considering -- please consider allowing
      3     us to offer 60 days dating to customers
      4     who order C-IIs for the first time, which
      5     we track, as well as those who order
      6     Dava/Oxy.
      7                         This was the vice president
      8     of marketing, Mark Falkin?
      9                A.       Yes.
     10                Q.       So he's asking you and
     11     Brian, let us give customers 60 days to
     12     pay if they order C-IIs for the first
     13     time, as well as those that ordered Oxy,
     14     right?
     15                A.       Yes.
     16                Q.       Do you see that?
     17                         And you don't -- you don't
     18     say -- you and Brian don't say anything
     19     about, if it moves all the other C-IIs,
     20     great.      Or that's fine.            You say, If it
     21     moves Dava, approved.
     22                A.       Yes.
     23                Q.       Yes.
     24                         Because you and Anda were
    Golkow Litigation Services                                             Page 119
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further120Confidentiality
                                                           of 226. PageID #: 469576
                                                                               Review

      1     interested, at every turn, on selling Oxy
      2     and as much Oxy as you could; isn't that
      3     right?
      4                         MS. KOSKI:           Object to form.
      5                         THE WITNESS:           No.    Disagree.
      6                         MR. PENNOCK:           I'm going to
      7                take a break.            Lunch is coming.
      8                         MS. KOSKI:           12:30?
      9                         MR. PENNOCK:           Oh, 12:30.
     10                         MS. KOSKI:           Do you want to
     11                power through to 12:30?
     12                         MR. PENNOCK:           We'll take a
     13                break right now.
     14                         VIDEO TECHNICIAN:             Going off
     15                record.       The time is 12:19.
     16                                -    -    -
     17                         (Whereupon, a luncheon
     18                recess was taken.)
     19                              -     -    -
     20                         VIDEO TECHNICIAN:             We are
     21                back on record.              This is the
     22                beginning of Media File Number 4.
     23                The time is 1:11.
     24     BY MR. PENNOCK:
    Golkow Litigation Services                                             Page 120
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further121Confidentiality
                                                           of 226. PageID #: 469577
                                                                               Review

      1                Q.       Mr. Paonessa, let me show
      2     you, please, what's been marked now as
      3     Exhibit-19 to your deposition.
      4                                -    -    -
      5                         (Whereupon, Anda-Paonessa
      6                Exhibit-19,
      7                Anda_Opioids_MDL_0000610178-184,
      8                was marked for identification.)
      9                              -     -    -
     10     BY MR. PENNOCK:
     11                Q.       This is a document, an
     12     e-mail chain, bearing Bates number
     13     0000610178.
     14                A.       Okay.
     15                Q.       Sir, this e-mail thread is
     16     back in -- starts in February 2007,
     17     right?
     18                A.       Yes.
     19                Q.       And so there's an e-mail
     20     from Tracy Paonessa -- is that somebody
     21     related to you?
     22                A.       Yes.       My sister.
     23                Q.       Your sister.
     24                         And she indicates that
    Golkow Litigation Services                                             Page 121
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further122Confidentiality
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                                                                               Review

      1     there's a customer looking for an order
      2     90 days dating on $30,000 controlled
      3     substances ordering system order.                      Can
      4     this be approved?             This is for 90, not
      5     60.
      6                         Do you see that?
      7                A.       Yes.
      8                Q.       So she's -- some customer
      9     has contacted her and wants, basically,
     10     90 days to pay on ordering some product,
     11     right?
     12                A.       Yes.
     13                Q.       And that product -- I'm
     14     sorry.
     15                         So they have to check
     16     whether they're going to give them the 90
     17     days, right?          You saw that in the
     18     e-mails?
     19                A.       Yes.
     20                Q.       A credit manager said the
     21     customer has sufficient credit and is in
     22     good standing, so they're going to give
     23     them the 90 days, right?
     24                A.       Yes.
    Golkow Litigation Services                                             Page 122
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further123Confidentiality
                                                           of 226. PageID #: 469579
                                                                               Review

      1                Q.       And then there is a further
      2     communication by Ms. Paonessa, where she
      3     indicates the order never -- this is a
      4     couple of weeks later.
      5                         The order never went through
      6     for the $30,000.            Now they would like to
      7     place an order for $75,000, also asking
      8     for the 90 days dating, right?
      9                         Do you see that?            This is
     10     Bates number 182.
     11                A.       Okay, yes.
     12                Q.       It is 200 bottles of Item
     13     Number 700654.
     14                         What does that number relate
     15     to?
     16                A.       Item number.
     17                Q.       So, like, a particular --
     18                A.       Sku.
     19                Q.       Sku.
     20                         So, like, a particular set
     21     of bottles?
     22                A.       No one -- one individual
     23     type of bottle, yes.              Just one.
     24                Q.       One individual what?
    Golkow Litigation Services                                             Page 123
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      1                A.       Bottle.
      2                Q.       It says 200 bottles of Item
      3     Number 700654.
      4                A.       Right.
      5                Q.       So I'm just trying to
      6     understand what that means.
      7                A.       It's one bottle.            It's like
      8     ibuprofen 200 count or whatever, 40
      9     pieces, whatever.             It's one item number,
     10     one individual unique sku.
     11                Q.       So how do you get -- how do
     12     you get 200 bottles of one individual
     13     unique sku?
     14                A.       I don't know what the sku
     15     is.     I don't know if it's a 30 count, I
     16     don't know if it's 100 count.                   I have no
     17     idea.
     18                Q.       I'm sorry --
     19                A.       I don't know who the
     20     customer is either.              I don't -- I have no
     21     idea who this is.
     22                Q.       Okay.      But -- oh, I see.             So
     23     that's -- that number relates, actually,
     24     to 100-count bottles.
    Golkow Litigation Services                                             Page 124
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
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                                                                               Review

      1                A.       Okay.
      2                Q.       Is that -- you don't recall?
      3     You don't know?
      4                A.       Well, I wouldn't know.                I
      5     mean, we can -- somebody could look it up
      6     and let me know.            I wouldn't deny the
      7     item itself, no.
      8                Q.       Okay.      So the e-mails
      9     continue, and the customer is faxing the
     10     credit application now.
     11                         And it's now up to $78,000,
     12     right?
     13                A.       Yes.
     14                Q.       And so it gets to the end,
     15     and there's an e-mail here from Randy
     16     Saal to Ms. Paonessa and others,
     17     including Brian Witte.
     18                         And it says, Okay, we were
     19     able to get his bank account number with
     20     SunTrust Bank.           Today is the last day he
     21     can purchase the Oxys by Watson, too.
     22     Let me know if you want me to call it
     23     down to you.
     24                         Do you see that?
    Golkow Litigation Services                                             Page 125
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
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                                                                               Review

      1                A.       Yes.
      2                Q.       And the date of that e-mail
      3     is February 28th, 2007, right?
      4                A.       Yes.
      5                Q.       So somebody writes back --
      6     let's see here.            Russel Durrett, credit
      7     manager, Go ahead and put the order
      8     through as this is approved along with
      9     the dating.
     10                         Right?
     11                A.       Yes.
     12                Q.       Okay.      But for that to be
     13     approved, you would have had to have
     14     approved that, right?
     15                         MS. KOSKI:         Object to form.
     16                         THE WITNESS:          Your -- this
     17                is a credit approval request, it
     18                has nothing to do with the actual
     19                order itself.          The order would
     20                have already been created or
     21                approved ahead of time, following
     22                the normal procedure of having the
     23                customer allowed to have that much
     24                of that product.
    Golkow Litigation Services                                             Page 126
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
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                                                                               Review

      1     BY MR. PENNOCK:
      2                Q.       Okay.       And the order -- Ms.
      3     Paonessa indicates the order went through
      4     on 2/28/07 --
      5                A.       Okay.
      6                Q.       -- right?
      7                A.       Yes.
      8                Q.       Okay.
      9                         MR. PENNOCK:           I'm sorry,
     10                sir.     I need to mark that as
     11                Exhibit-20.
     12                         Exhibit-20 of your
     13                deposition is a --
     14                         MS. KOSKI:           Now you're
     15                testing my eyes.
     16                         MR. PENNOCK:           -- Bates
     17                number 0000612614.
     18                                -    -    -
     19                         (Whereupon, Anda-Paonessa
     20                Exhibit-20,
     21                Anda_Opioids_MDL_0000612614, was
     22                marked for identification.)
     23                              -     -    -
     24     BY MR. PENNOCK:
    Golkow Litigation Services                                             Page 127
Case: Highly
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                                                                               Review

      1                Q.       I'm looking at the first
      2     e-mail on this document, and it's from
      3     senior director of sales and marketing,
      4     Watson is currently allocating oxycodone
      5     HCL ER in 10, 20, 40 and 80 milligram to
      6     its customers, including Anda.                    We want
      7     to ensure smooth customer supply, so
      8     we've established the 5 percent promotion
      9     to encourage customers to purchase an
     10     increased supply of product than their
     11     normal orders so that they would not
     12     experience inventory supply issues.
     13                         Do you see that?
     14                A.       Yes.
     15                Q.       And the e-mail ultimately
     16     reaches you.          And you reply, We need to
     17     move as much product out of our building
     18     as possible.          February 28th, what we have
     19     left we need to throw out if Walgreens
     20     won't take it.
     21                         Do you see that statement?
     22                A.       Yes.
     23                Q.       This is on February 22nd.
     24                         So you're talking about
    Golkow Litigation Services                                             Page 128
Case: Highly
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                                                                               Review

      1     trying to sell as much Oxy as you can by
      2     a particular date.
      3                         Do you see that?
      4                A.       Yes.
      5                Q.       And the reason you're
      6     talking about that is because the product
      7     was going to expire on that date and you
      8     couldn't sell it anymore, right?
      9                A.       That is not -- that probably
     10     is not the case.
     11                         I don't know this exact
     12     situation, but I would believe that
     13     Watson probably had no longer the ability
     14     to sell that sku for some reason, or that
     15     product contractually.               So they said if
     16     you don't sell it in this period of time,
     17     then, you know, whatever happens,
     18     happens.        We have to throw it out.
     19                         But nothing changes, that we
     20     still would have had rules of who could
     21     take how much of that product.                    So it
     22     could still only go to who had the right
     23     to get, in whatever quantity it was.
     24                Q.       When I showed you Exhibit-17
    Golkow Litigation Services                                             Page 129
Case: Highly
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                                                                               Review

      1     earlier, you told -- I said, Question:
      2     Was it the belief inside Anda that these
      3     types of promotional efforts would help
      4     to increase your sales of opioids?
      5                         Answer:       We had no -- we had
      6     no program or goal whatsoever to sell
      7     opioids as a goal.             We sold all products;
      8     C-II, non-C-II, OTC, vitamins.
      9                         Do you remember that
     10     question and answer?
     11                A.       Yes.
     12                Q.       But what we see here is that
     13     you were, in fact, specifically trying to
     14     sell particular opioid product and sell
     15     it by a certain date and willing to
     16     extend 90 days dating credit for that
     17     product; isn't that right?
     18                         MS. KOSKI:         Object to form.
     19                Compound.
     20                         THE WITNESS:          Yes.      And it
     21                still would have followed under
     22                the due diligence that we had to
     23                do on each account of how much
     24                they could have.
    Golkow Litigation Services                                             Page 130
Case: Highly
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      1                         This being Anda, owned by
      2                Watson, we were still considered
      3                part of Watson.           So this was
      4                truly, in a sense, Watson's
      5                product as a manufacturer.                  I was
      6                partially a manufacturer.                 So I
      7                needed -- this was in our
      8                building, and I needed to get this
      9                to Walgreens or whoever.
     10                         And I do not know their --
     11                there will be a reason of why
     12                Watson could not sell that product
     13                after 2/28.         I don't know what the
     14                reason is or was, but there would
     15                have been some contractual reason
     16                with another manufacturer, a deal
     17                that the manufacturer made.                  Their
     18                own -- that product and Watson
     19                label might have been made by
     20                somebody else, or it was made by
     21                Watson and they switched.                 I'm not
     22                sure.
     23                         But this would have been
     24                something that Watson knew that if
    Golkow Litigation Services                                             Page 131
Case: Highly
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      1                I didn't sell that, being part of
      2                Watson, that they would have to
      3                destroy the product; me too.                   We
      4                would have to destroy it.
      5                         I don't know what -- the
      6                contractual relationship they had
      7                on that item.
      8     BY MR. PENNOCK:
      9                Q.       But you told us a little
     10     while ago, Question -- do you remember
     11     this question and answer?
     12                         Question:        You did not have
     13     any program, you didn't have any goal to
     14     sell opioids of any kind?
     15                         Answer:       No.     Absolutely no
     16     goal to sell opioids as a goal within our
     17     organization.
     18                         Do you remember that
     19     question and answer?
     20                A.       I do.      And it's out of
     21     context, because that was -- you were
     22     describing what I understood as a goal, a
     23     promotional period, something that I
     24     could sell more of something.
    Golkow Litigation Services                                             Page 132
Case: Highly
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                                                                               Review

      1                         This was to try to move
      2     product for Watson, still in the normal
      3     channels that we have, being able to be
      4     able to sell it.            And, you know, still
      5     following the same rules and procedures
      6     we had of how much somebody could have of
      7     it.
      8                Q.       We'll let the jury decide if
      9     it's out of context.              It was just a few
     10     minutes ago, or a short while ago.
     11                         But this was the context,
     12     this Exhibit-17, where I asked you about
     13     this particular exhibit.                 And you -- we
     14     look at this, and we see that the offer,
     15     5 percent off, expires at the end of
     16     February, right?
     17                A.       Correct, yes.
     18                Q.       We went over that.
     19                         And the item number for
     20     oxycodone -- I'm sorry, yeah, oxycodone,
     21     which is OxyContin 80 milligrams, is
     22     700654.
     23                         That's the same number for
     24     this product that your sister sold, isn't
    Golkow Litigation Services                                             Page 133
Case: Highly
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                                                                               Review

      1     it?
      2                A.       My sister did not sell.
      3                         MS. KOSKI:         Object to form.
      4                         THE WITNESS:          She does not
      5                sell.      She was credit.           She was
      6                part of credit.
      7     BY MR. PENNOCK:
      8                Q.       Okay.      Well, this is the
      9     same -- it's the same product that your
     10     sister had sought the credit extension of
     11     $75,000 for, right?
     12                A.       Yes.
     13                Q.       That's the same one?
     14                A.       Yes.
     15                Q.       So the fact of the matter
     16     is, then, that you did, at least in this
     17     instance, you clearly had a goal to sell
     18     particular OxyContin, didn't you?
     19                A.       Yes.
     20                Q.       I mean, I asked you at the
     21     beginning of the dep, you understand I'm
     22     relying, and we're all relying, on the
     23     truth of your answers here today, don't
     24     you?
    Golkow Litigation Services                                             Page 134
Case: Highly
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      1                         MS. KOSKI:           Objection.       Move
      2                to strike your colloquy.                 You're
      3                mischaracterizing his testimony.
      4                         MR. PENNOCK:           It's not
      5                colloquy.
      6                         THE WITNESS:           Yes.
      7                                -    -    -
      8                         (Whereupon, Anda-Paonessa
      9                Exhibit-21,
     10                Anda_Opioids_MDL_0000278594-615,
     11                was marked for identification.)
     12                              -     -    -
     13     BY MR. PENNOCK:
     14                Q.       I'm marking Exhibit-21 to
     15     your deposition, sir.                It's 0000278594,
     16     and it ends at 615.
     17                         MS. KOSKI:           Is that
     18                handwriting on the original?
     19                         MR. PENNOCK:           Yes.
     20                         MS. KOSKI:           Was this
     21                produced as a single document?
     22                         MR. PENNOCK:           I'm sorry?
     23                         MS. KOSKI:           Was this
     24                produced as a single document?                    It
    Golkow Litigation Services                                             Page 135
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      1                has other e-mails in the back.
      2                         MR. TRUAX:         It was part of a
      3                file.
      4                         MS. KOSKI:         Got it.       Thank
      5                you.
      6                         THE WITNESS:          Okay.
      7     BY MR. PENNOCK:
      8                Q.       Sir, do you recognize the
      9     handwriting on the first page of this
     10     document?
     11                A.       No.
     12                Q.       If we -- sir, if we look at
     13     the first e-mail in chronological order
     14     in this document, it's an e-mail from Jim
     15     Gatto to you on August 15th, 2007.
     16                         It says, Al, I need your
     17     approval to change the monthly dosage
     18     limit percentage on the account listed
     19     below to 100 percent, allowing them to


     21     month.
     22                         Do you see that?
     23                A.       Yes.
     24                Q.       And it's marked, Urgent
    Golkow Litigation Services                                             Page 136
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      1     approval, in his subject line, right?
      2                A.       Yes.
      3                Q.       And he sent that to you and
      4     you approved it, right?
      5                A.       Yes.
      6                Q.       And he doesn't work across
      7     the hall from you, does he?
      8                A.       No.     We spoke before this.
      9     But, yes, this was part of the process.
     10     I had to have this document before he was
     11     allowed to do it or change any of it.
     12                         So we spoke before this.                 It
     13     wouldn't have come through and I looked
     14     down at this and said yes two minutes
     15     later.
     16                Q.       Right.       It was two minutes
     17     later --
     18                A.       There was a conversation --
     19                Q.       -- 5:25?
     20                A.       It was two minutes later.
     21     But a conversation pursued before that.
     22     And I am at my own computer, while not in
     23     the same building, was looking at the
     24     same documentation that you have
    Golkow Litigation Services                                             Page 137
Case: Highly
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      1     attached.
      2                Q.       And why is it that you did
      3     not document any of these conversations
      4     that you had approving above the 5,000
      5     dosage units a month?
      6                         MS. KOSKI:         Object to form.
      7                         THE WITNESS:          I don't know.
      8                I didn't -- I didn't -- I never
      9                did that.
     10     BY MR. PENNOCK:
     11                Q.       And this goes on and the --
     12     he writes, four days later, he's having
     13     some e-mails with Lisa Serafini.
     14                         Who is she?
     15                A.       She was the sales rep for
     16     the account.
     17                Q.       And it says, He orders a lot
     18     of oxys monthly.            He gets 48 of all four
     19     strengths each month.
     20                         Do you see that?
     21                A.       Yes.
     22                         MS. KOSKI:         Bates ending
     23                612.
     24                         THE WITNESS:          Okay.
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Case: Highly
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      1     BY MR. PENNOCK:
      2                Q.       So a day later, Gatto writes
      3     to you again, and he says, Al, I wanted
      4     to get your take on this one before I
      5     sent for a limit increase.                  I already
      6     raised him to -- I already raised him on
      7     8/15 to 100 percent over limit.                     I've
      8     also attached the E/pop from the sales
      9     rep explaining the account situation.
     10     Looking at his numbers, I would have no
     11     problem asking for another increase to




     17                         Do you see that?
     18                A.       Yes.
     19                Q.       So, first of all, this is
     20     five -- this is -- let's see.                   Sorry,
     21     this is 13 days after you raised him to




     24                A.       Yes.
    Golkow Litigation Services                                             Page 139
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      1                Q.       And you wrote back a couple
      2     of minutes later again, Approved.
      3                         True?
      4                A.       Yes.
      5                Q.       And we see here from this
      6     e-mail, it doesn't sound like you had an
      7     in-person -- I'm sorry, from this e-mail
      8     it doesn't sound like you had some kind
      9     of conversation with him before this
     10     e-mail, does it?
     11                A.       No.
     12                Q.       And then he -- Gatto,
     13     next -- at least in this set of
     14     documents, he writes to you in -- I'm
     15     sorry, it's like over two years 'later.
     16                         And you had been -- you had
     17     been selling this place -- it's called
     18     Drug City Pharmacy, right?
     19                A.       Yes.
     20                Q.       You had been selling them


     22     since around August -- end of August
     23     2007, right?
     24                A.       Yes.
    Golkow Litigation Services                                             Page 140
Case: Highly
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      1                Q.       So now he writes again, it
      2     says, Al, I need your approval to change
      3     the monthly dosage limit percentage on




      7                A.       There's --
      8                Q.       Do you see that statement?
      9                A.       Yeah.      I'm looking at this
     10     now.     There's -- the two minutes apart
     11     means that I had had a conversation
     12     before this e-mail was written.
     13                Q.       Okay.      Really?
     14                A.       Yes, positively.            There's no
     15     way, I just wouldn't do it.                  So I'll
     16     stand behind that forever.                  I would not
     17     have just, yes, sure, go ahead.                     No
     18     chance.       Absolutely no chance.
     19                         There was conversations that
     20     happened well before this, most likely
     21     down in the Anda building, about this
     22     account with Michael and Patrick
     23     Cochrane.        That's why they're on these
     24     e-mails.
    Golkow Litigation Services                                             Page 141
Case: Highly
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      1                Q.       Only none of these e-mails,
      2     whether from Michael Cochrane or Mr.
      3     Gatto, not one of them says, Al, per our
      4     conversation earlier today, do they?
      5                         We haven't seen one that
      6     says that yet, have we?
      7                A.       No.
      8                Q.       Not one of them says, Al, as
      9     we discussed, do they?
     10                         MS. KOSKI:         Object to form.
     11     BY MR. PENNOCK:
     12                Q.       They don't say that, do
     13     they?
     14                A.       No, they do not.
     15                Q.       No.
     16                         What this e-mail does is
     17     give you an explanation and facts.                      He
     18     tells you, account has sent me a dispense
     19     report showing that he dispenses more
     20     than that amount of oxycodone.
     21                         Do you see that statement?
     22     Do you see that statement?
     23                A.       Yes.
     24                Q.       Then he gives you another
    Golkow Litigation Services                                             Page 142
Case: Highly
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      1     fact.      They are a CSOS account.
      2                         Do you see that statement?
      3                A.       Yes.
      4                Q.       Their percentages are up and
      5     down as far as controls to non-controls,
      6     but for the most part decent numbers.
      7                         Do you see that fact --
      8                A.       Yes.
      9                Q.       -- he's telling you?




     16                Q.       And then he says, I have
     17     told the sales rep to request a
     18     questionnaire on Remedy.
     19                         Do you see that statement?
     20                A.       Yes.
     21                Q.       Okay.      So we know that you
     22     don't even have a questionnaire yet on
     23     this?
     24                A.       That's not true.
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      1                Q.       No?
      2                A.       The questionnaires were --
      3     the questionnaires, they change and they
      4     were -- they evolve.              So this was a new
      5     questionnaire that most likely was sent
      6     to him to get more limits.                  Because he
      7     would have had a questionnaire before
      8     that.




     13                Q.       And as you noted, two
     14     minutes later again you approved it,
     15     right?
     16                A.       Yes.
     17                Q.       Now, fast forward.              We're
     18     now in January.            That last e-mail was
     19     December 22, 2009, now we're on January
     20     18th, 2010, like three weeks later,
     21     right?
     22                A.       Yes.
     23                Q.       And he again writes to you.
     24     Al, I need your approval to change the
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Case: Highly
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                                                                               Review

      1     monthly dosage limit percentage on the




      4     dosage units per month.
      5                         Do you see that statement?
      6                A.       Yes.
      7                Q.       And he goes on to give this
      8     other information to you, right?
      9                A.       Yes.
     10                Q.       And, again, this time a
     11     couple of hours later, you approved it.


     13     to get 75,000 dosage units per month,


     15                A.       Yes.
     16                Q.       So do you know what happened
     17     to Drug City?
     18                A.       No.
     19                                -   -    -
     20                         (Whereupon, Anda-Paonessa
     21                Exhibit-22, US Department of
     22                Justice; 11/3/16; United States
     23                Reaches $900,000 Settlement with
     24                Drug City Pharmacy and its Former
    Golkow Litigation Services                                             Page 145
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further146Confidentiality
                                                           of 226. PageID #: 469602
                                                                               Review

      1                Owner for Unlawful Distribution of
      2                Controlled Substances, was marked
      3                for identification.)
      4                              -    -   -
      5     BY MR. PENNOCK:
      6                Q.       I'll show you what's being
      7     marked as Exhibit-22 to your deposition,
      8     sir.
      9                A.       Okay.
     10                Q.       The title of this, this is
     11     an article -- I'm sorry, this is a press
     12     release from the United States Attorney's
     13     Office, District of Maryland, United
     14     States Reaches Settlement with Drug City
     15     Pharmacy and Its Former Owner for
     16     Unlawful Distribution of Controlled
     17     Substances.
     18                         Do you see that?
     19                A.       Yes.
     20                Q.       And they say here, According
     21     to the settlement agreement, Drug City
     22     and Lichtman admitted that from January
     23     2010 to April 4, 2012, they dispensed
     24     controlled substances in a manner not
    Golkow Litigation Services                                             Page 146
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further147Confidentiality
                                                           of 226. PageID #: 469603
                                                                               Review

      1     fully consistent with their compliance
      2     obligations under the Controlled
      3     Substances Act and related regulations.
      4                         Right?
      5                A.       Yes.
      6                Q.       Do you see that?
      7                A.       Yes.
      8                Q.       And we saw that in December
      9     2009, on December 22nd, 2009, you
     10     personally approved their increase
     11     from -- what was it?
     12                         That was the one where you




     19                A.       Yes.
     20                Q.       So you would agree with me
     21     that it's likely that your -- the opioids
     22     that you were selling to that place from
     23     that period were being diverted and
     24     illegally sold, wouldn't you?
    Golkow Litigation Services                                             Page 147
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further148Confidentiality
                                                           of 226. PageID #: 469604
                                                                               Review

      1                         MS. KOSKI:         Object to form.
      2                         THE WITNESS:          I do not know
      3                what he was doing.             I look at this
      4                e-mail, I see that we did a site
      5                visit, I see that we saw -- we had
      6                a person actually go to the
      7                facility and see it.
      8                         I see that he does 850
      9                scripts a year -- a day, which is
     10                huge.
     11                         I don't know, you know, what
     12                his checks and balances were,
     13                besides what he showed us.                  And
     14                the customer base that we saw, you
     15                know, everything that I see on
     16                here, you know, we did everything
     17                that we could do, including the
     18                site visit, talking to the owner,
     19                understanding what's going on, to
     20                feel that this was still okay.




    Golkow Litigation Services                                             Page 148
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
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                                                                               Review




     10                         What do you need to go to
     11     anyone else for?
     12                A.       He's doing --
     13                         MS. KOSKI:          Object to form.
     14                         THE WITNESS:          He's doing
     15                close to 30,000 prescriptions a
     16                month, maybe more.
     17     BY MR. PENNOCK:
     18                Q.       So any Oxy that he diverted
     19     was your Oxy --
     20                         MS. KOSKI:          Object to form.
     21     BY MR. PENNOCK:
     22                Q.       -- right?
     23                A.       Yes.
     24                                -   -    -
    Golkow Litigation Services                                             Page 149
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further150Confidentiality
                                                           of 226. PageID #: 469606
                                                                               Review

      1                         (Whereupon, Anda-Paonessa
      2                Exhibit-23,
      3                Anda_Opioids_MDL_0000078404-405,
      4                was marked for identification.)
      5                              -    -   -
      6     BY MR. PENNOCK:
      7                Q.       Take a look at this, please.
      8     Exhibit-23, it's an e-mail, 000078404.
      9                A.       Okay.
     10                Q.       So in February 2012, you get
     11     an e-mail from Gayle Lane, right?                      She
     12     was in the Miami western diversion group
     13     with the -- with who?               DEA?
     14                A.       DEA.      Yes, with the DEA.
     15                Q.       She e-mailed you and --
     16     well, she e-mailed Mike Cochrane, who
     17     sent it to you.            And you sent it to --
     18     back to Cochrane.
     19                         There's a lot of talk up
     20     here due to the Cardinal issue.                     Can you
     21     let me know what our due diligence is on
     22     Drug City ASAP?            I know we have it,
     23     because you would not have sold to him.
     24     Also, send me his usage, too.
    Golkow Litigation Services                                             Page 150
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further151Confidentiality
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                                                                               Review

      1                         Do you see that?
      2                A.       Yes.
      3                Q.       So when this was sent to
      4     you, you did not have any knowledge, as
      5     you got this e-mail, as to what your due
      6     diligence had been for Drug City all that
      7     time?
      8                         MS. KOSKI:           Object to form.
      9     BY MR. PENNOCK:
     10                Q.       Did you?
     11                A.       I didn't know what exactly
     12     it was.       I knew that we had it, and we
     13     did have it, because he sent it to Gayle.
     14                                -    -    -
     15                         (Whereupon, Anda-Paonessa
     16                Exhibit-24,
     17                Anda_Opioids_MDL_0000078400-401
     18                was marked for identification.)
     19                              -     -    -
     20     BY MR. PENNOCK:
     21                Q.       Exhibit-24 to your
     22     deposition is Bates number 0000078400.
     23                A.       Okay.
     24                Q.       You just told the jury that
    Golkow Litigation Services                                             Page 151
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further152Confidentiality
                                                           of 226. PageID #: 469608
                                                                               Review

      1     you -- you said, I didn't -- with respect
      2     to the due diligence on Drug City, you
      3     said, I didn't know exactly what it was.
      4     I knew we had it.             And we did have it.
      5                         Do you remember just saying
      6     that a second ago?
      7                A.       Yes.
      8                Q.       Well, then, let's look at
      9     this e-mail, Exhibit-24.
     10                         You got the -- forwarded the
     11     request from the DEA.               And you write,
     12     Wonderful.         Didn't we discuss this with
     13     her before?         Are we shutting him down
     14     today?
     15                         Do you see that statement?
     16                A.       Yes.
     17                Q.       And then Cochrane writes
     18     back to you, Michael Cochrane, I think
     19     this was the one you brought up last year
     20     to her when we met with her.                   I think
     21     McKesson was giving them 240,000 a month.
     22                         Do you see that?
     23                A.       Yes.
     24                Q.       You say, Accokeek --
    Golkow Litigation Services                                             Page 152
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further153Confidentiality
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                                                                               Review

      1     Cochrane says Accokeek was discussed in
      2     more detail, and she confirmed in
      3     December it was a pill mill.
      4                         Do you see that?
      5                A.       Yes.
      6                Q.       That's some other pill mill,
      7     right?
      8                A.       That we gave to them to let
      9     them know that this was a pill mill in
     10     our due diligence.
     11                Q.       Right.       So at this point,
     12     you're not even sure which pill mill
     13     she's writing about?
     14                A.       That's not true.
     15                         MS. KOSKI:         Object to form.
     16                         THE WITNESS:          That's not
     17                true.
     18     BY MR. PENNOCK:
     19                Q.       You just -- you asked them,
     20     didn't we discuss this with her before?
     21                A.       I didn't --
     22                Q.       And he tells you -- Cochrane
     23     tells you, no, that was Accokeek?
     24                A.       No.     Because we discussed --
    Golkow Litigation Services                                             Page 153
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
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                                Subject         Further154Confidentiality
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                                                                               Review

      1     we discussed -- she came in because of
      2     Accokeek, because we found Accokeek, in
      3     our due diligence, that there was a big
      4     problem with that place and we wouldn't
      5     sell them.
      6                         And she came in with a big
      7     green bar paper worth and showed me, look
      8     how horrible these guys are.                   And at that
      9     point, we discussed and showed her our
     10     due diligence again on -- back then, not
     11     in this time, not during 2012, but we
     12     talked to her about this drug thing.
     13                         And no, we did not --
     14                Q.       Which drug?
     15                A.       Drug City.
     16                         We talked to her about Drug
     17     City, and tried to get her -- do we know
     18     anything about Drug City?                 Do you see
     19     something that's a problem with Drug
     20     City?      Showed her the data on them too.
     21     And she left that there wasn't a problem
     22     with them.
     23                         And even so, we still
     24     cancelled them from getting Oxy from us
    Golkow Litigation Services                                             Page 154
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further155Confidentiality
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                                                                               Review

      1     almost a year ahead of time -- or, no,
      2     seven months.
      3                Q.       So you told her, Gayle Lane,
      4     that there was a problem with Drug City?
      5                A.       No, I did not say there was
      6     a problem with Drug City.                 We showed our
      7     due diligence on Drug City and asked her
      8     opinion on it, because we went to the DEA
      9     many times to ask their opinion of how we
     10     were doing our due diligence.
     11                         And she did not have a
     12     problem with Drug City with what we
     13     showed her that day.
     14                Q.       And so you didn't shut them
     15     down?
     16                A.       Not when the DEA told me, I
     17     don't see an issue here.
     18                Q.       Do you have any
     19     documentation regarding this conversation
     20     you're alleging with Gayle Lane?
     21                         MS. KOSKI:         Object to form.
     22                         THE WITNESS:          I personally
     23                do not.
     24     BY MR. PENNOCK:
    Golkow Litigation Services                                             Page 155
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further156Confidentiality
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                                                                               Review

      1                Q.       Do you know if it exists?
      2                A.       Possibly.
      3                Q.       What would be the form of
      4     that documentation of this conversation
      5     with the DEA?
      6                A.       Someone -- it would have had
      7     to be either Mike, Patrick or Jay
      8     Spellman, because the three of us sat
      9     with her that day that she would -- if
     10     one of them documented it.
     11                         It could even be in the due
     12     diligence of them that we talked to
     13     Gayle.
     14                Q.       Why is it that you brought
     15     up Drug City to her in 2011 and not, for
     16     example, in 2010, 2009?
     17                A.       Because the due diligence we
     18     were doing fell within the parameters
     19     that we felt were okay for that -- for
     20     that places and the size that they were.
     21                Q.       This is back to Exhibit-21.
     22                         This is the photograph that
     23     Gatto sent to you when he was asking for
     24     an approval.          And there's your Drug City
    Golkow Litigation Services                                             Page 156
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further157Confidentiality
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                                                                               Review

      1     Pharmacy.
      2                         Do you see that?
      3                A.       Yes.
      4                Q.       That's what he sent to you
      5     when he got approval from you to give


      7                A.       Yes.
      8                Q.       From Google Maps, right?
      9                A.       Yes.
     10                Q.       All right.
     11                                -    -    -
     12                         (Whereupon, Anda-Paonessa
     13                Exhibit-25,
     14                Anda_Opioids_MDL_0000282932, was
     15                marked for identification.)
     16                              -     -    -
     17     BY MR. PENNOCK:
     18                Q.       I'll hand you Exhibit-25,
     19     please.       This is an e-mail bearing Bates
     20     number 0000282932.
     21                A.       Okay.
     22                Q.       You just told us that you
     23     had done your due diligence on Drug City
     24     and had indicated, for the time that you
    Golkow Litigation Services                                             Page 157
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further158Confidentiality
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                                                                               Review

      1     were selling them until the end, that
      2     they were okay to sell to.                  I think you
      3     said something about because of their
      4     size.
      5                         Do you remember that?               I can
      6     get you the exact quote, if you want it.
      7                A.       Yes.
      8                Q.       So you told her, Gayle Lane,
      9     that there was a problem with Drug City?
     10                         No, I did not say there was
     11     a problem with Drug City.                 We showed her
     12     our due diligence on Drug City and asked
     13     her her opinion on it.               Because we went
     14     to the DEA many times to ask their
     15     opinion about how we were doing our due
     16     diligence.         And she said she did not have
     17     a problem with Drug City, what we showed
     18     her.
     19                         And you said -- do you
     20     remember that?
     21                A.       Yes.
     22                Q.       So I'm showing you an e-mail
     23     from -- it's an e-mail from February 3rd,
     24     2010.
    Golkow Litigation Services                                             Page 158
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further159Confidentiality
                                                           of 226. PageID #: 469615
                                                                               Review

      1                         This is about a month after
      2     you raised them, Drug City, 900 percent,
      3     right?
      4                A.       Yes.
      5                Q.       And here is your e-mail,
      6     5:30 in the morning, to Mike Cochrane.
      7                         SOPs, that stands for
      8     standard operating procedure?
      9                A.       Yes.
     10                Q.       Mike, do we have anything in
     11     writing on our policies for control
     12     limits and how we handle each customer?
     13                         Do you see that statement?
     14                A.       Yes.
     15                Q.       Please let me know ASAP.                 I
     16     need to respond to a corporate person on
     17     how we do it.          Or do you have anything?
     18                         Do you see that?
     19                A.       Yes.
     20                Q.       So at that time, one month
                                                                   000
     22     units a month, you, the president of the
     23     company, didn't even know if you had
     24     anything in writing --
    Golkow Litigation Services                                               Page 159
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
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                                                                               Review

      1                A.       That's -- that's --
      2                Q.       -- for your policies on
      3     control limits and how you handle each
      4     customer?
      5                         MS. KOSKI:         Object to form.
      6                         THE WITNESS:          That's 100
      7                percent untrue.           I was asking him
      8                if he had anything that he could
      9                send me that I could forward.
     10                         We had those.           And I didn't
     11                have anything at home at 5:30 in
     12                the morning to send somebody.
     13     BY MR. PENNOCK:
     14                Q.       But you said, Do we have
     15     anything in writing on our policies for
     16     control limits?
     17                A.       Well, I was asking for, does
     18     he have a Word document on his laptop?
     19     You know, do you have something you can
     20     send me?        I need to send it to our
     21     corporate office.
     22                Q.       I see.
     23                         And he wrote back, We have a
     24     brief SOP that addresses the increase
    Golkow Litigation Services                                             Page 160
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further161Confidentiality
                                                           of 226. PageID #: 469617
                                                                               Review

      1     process above 5,000 per month that is our
      2     standard.        I'm in PR at DCI.             I didn't
      3     bring my laptop because I don't have an
      4     air card.        I'm sure I have something
      5     more, just need to look.                 I think we -- I
      6     think I have the letter we sent in the
      7     beginning, the questionnaire, the SOP
      8     regarding increases.
      9                         Do you see that statement?
     10                A.       Yes.
     11                Q.       Not exactly the height of
     12     organization for written policies on
     13     something as crucial as the sale and
     14     distribution of opioids, is it?
     15                         MS. KOSKI:         Object to form.
     16                         THE WITNESS:          Disagree.
     17     BY MR. PENNOCK:
     18                Q.       You disagree.
     19                         You're the president of the
     20     company, and you can't even put your
     21     hands -- withdrawn.
     22                         This e-mail shows us that
     23     the president of the company, who had
     24     been distributing and approving opioids
    Golkow Litigation Services                                             Page 161
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further162Confidentiality
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                                                                               Review

      1     for massive sale around the United States
      2     for years, can't even put his hands on a
      3     written policy regarding control limits
      4     for each customer?
      5                         Doesn't that show that?
      6                         MS. KOSKI:         Object to form.
      7                         THE WITNESS:          Yes, it does
      8                show that, that I did not have
      9                that at 5:30 in the morning at my
     10                house.
     11     BY MR. PENNOCK:
     12                Q.       You would think if you had
     13     anything at 5:30 in the morning at your
     14     house, it would be that?
     15                         MS. KOSKI:         Object to form.
     16                Move to strike.
     17     BY MR. PENNOCK:
     18                Q.       Do you know how many people
     19     died from opioids in 2010?
     20                         MS. KOSKI:         You don't need
     21                to answer that question.
     22     BY MR. PENNOCK:
     23                Q.       Do you know that?
     24                         MS. KOSKI:         Object to form.
    Golkow Litigation Services                                             Page 162
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
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                                Subject         Further163Confidentiality
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                                                                               Review

      1                Move to strike.
      2     BY MR. PENNOCK:
      3                Q.       Do you know an estimate of
      4     how many died that year?
      5                         MS. KOSKI:           Object to form.
      6                Lacks foundation.
      7                         MR. PENNOCK:           Let's take a
      8                quick break, please.
      9                         VIDEO TECHNICIAN:             Going off
     10                record.       The time is 2:04.
     11                                -    -    -
     12                         (Whereupon, a brief recess
     13                was taken.)
     14                              -     -    -
     15                         VIDEO TECHNICIAN:             Going
     16                back on record.              Beginning of
     17                Media File 5.            The time is 2:16.
     18     BY MR. PENNOCK:
     19                Q.       Mr. Paonessa, I'm going to
     20     show you what's being marked as
     21     Exhibit-26 to your deposition,
     22     0000274716.
     23                                -    -    -
     24                         (Whereupon, Anda-Paonessa
    Golkow Litigation Services                                             Page 163
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further164Confidentiality
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                                                                               Review

      1                Exhibit-26,
      2                Anda_Opioids_MDL_0000274716-717;
      3                With Attachment, was marked for
      4                identification.)
      5                              -    -   -
      6     BY MR. PENNOCK:
      7                Q.       Please take a look at that.
      8                A.       Okay.
      9                Q.       Okay.      So Exhibit-26 is an
     10     e-mail with an attachment.                  It's dated
     11     September 24th, 2007.               It's sent to,
     12     among others, Michael Cochrane.
     13                         Do you see that?
     14                A.       Yes.
     15                Q.       And it's regarding a
     16     customer New Choice Pharmacy, located at
     17     1900 23rd Street, Cuyahoga Falls, Ohio,
     18     right?
     19                         Do you see that, purchasing
     20     date from --
     21                A.       Yes, but it's -- it's
     22     confusing that the second part of the
     23     body of it says that the bulk of the
     24     patients serviced at New Choice come from
    Golkow Litigation Services                                             Page 164
Case: Highly
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               Confidential           Filed:to12/19/19
                                Subject         Further165Confidentiality
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                                                                               Review

      1     this other location.
      2                Q.       Right.
      3                A.       So it's from the pharmacy --
      4     I understand now.
      5                Q.       Maybe most of the
      6     prescriptions are being filled from --
      7     are being prescribed at Falls Pain?
      8                A.       Correct.
      9                Q.       And if you look at the
     10     purchasing data, you see that the top 18
     11     products dispensed by New Choice
     12     Pharmacy, the top 18 products are
     13     opioids.
     14                         You can determine that by
     15     looking at the name of the product all
     16     the way on the left-hand column.
     17                A.       Yes, I see.
     18                Q.       And by looking at the units
     19     over there.
     20                A.       Yes.
     21                Q.       So the top 18 products are
     22     opioids, or fentanyl.
     23                         Here is an example.              Here
     24     are the fentanyls.
    Golkow Litigation Services                                             Page 165
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
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                                                                               Review

      1                A.       Yes.
      2                         MS. KOSKI:           You're saying
      3                you did the math to get the top
      4                18?     This is alphabetical.
      5                         MR. PENNOCK:           Yes.     Yes.
      6                         THE WITNESS:           It will be
      7                accurate.
      8                         MR. PENNOCK:           I'll show you
      9                this e-mail.
     10                                -    -    -
     11                         (Whereupon, Anda-Paonessa
     12                Exhibit-27,
     13                Anda_Opioids_MDL_0000274587-589,
     14                was marked for identification.)
     15                              -     -    -
     16     BY MR. PENNOCK:
     17                Q.       I'm just showing you -- I
     18     just marked as Exhibit-27 to your
     19     deposition an e-mail thread bearing Bates
     20     number 0000274587.
     21                A.       Okay.
     22                Q.       So there's some e-mails that
     23     begin -- the first e-mail is to Mike
     24     Cochrane from Constantine Moshos.
    Golkow Litigation Services                                             Page 166
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further167Confidentiality
                                                           of 226. PageID #: 469623
                                                                               Review

      1                         And there's an indication
      2     that, We have to put a cap on controls
      3     for this account -- referring to New
      4     Choice Pharmacy, right?
      5                         MS. KOSKI:         Object to form.
      6                         THE WITNESS:          Yes.
      7                         Well, I don't know why
      8                Constantine would have wrote that,
      9                but that looks like what he wrote,
     10                yes.
     11     BY MR. PENNOCK:
     12                Q.       It's come to my attention
     13     that this pharmacy acts as an out
     14     pharmacy for both the hospital and the
     15     pain management center which is
     16     associated with the hospital.
     17                         Do you see that?
     18                A.       Yes.
     19                Q.       And there's another e-mail
     20     here from Mike Cochrane.
     21                         It says, Take a look at this
     22     usage report on their purchases from
     23     Cardinal.        They do buy some non-controls
     24     from them, but nothing from us.
    Golkow Litigation Services                                             Page 167
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further168Confidentiality
                                                           of 226. PageID #: 469624
                                                                               Review

      1                         Right?
      2                A.       Okay.
      3                Q.       And that's an issue, right,
      4     if somebody is only buying controls from
      5     you?
      6                A.       Yes.      In 2007, pain clinics
      7     were not considered what they are in
      8     2010, '12, '15 and today.                 They barely
      9     exist anymore.
     10                         But in 2007, we were trying
     11     to validate the doctor and the location.
     12     And that looks like what we were trying
     13     to do.
     14                         When I use the word
     15     "legitimatize," that's what I'm meaning.
     16     They are part of the Cleveland Health
     17     Network, too, and Premiere Hospital
     18     group, which is huge.               So I still was
     19     concerned with this pain management
     20     clinic and who they were, so that's what
     21     I was trying to find out.
     22                         I don't know what the answer
     23     came back, but that's what we needed to
     24     vet out.
    Golkow Litigation Services                                             Page 168
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further169Confidentiality
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                                                                               Review

      1                Q.       Well, you anticipated my
      2     question, that you wrote, See if we can
      3     legitimize it in some way.
      4                A.       Poor choice of words.
      5                                -    -    -
      6                         (Whereupon, Anda-Paonessa
      7                Exhibit-28,
      8                Anda_Opioids_MDL_0000272213-215,
      9                was marked for identification.)
     10                              -     -    -
     11     BY MR. PENNOCK:
     12                Q.       Take a look at Exhibit-28.
     13     This is 0000272213.
     14                A.       Okay.
     15                Q.       So a few months later, in
     16     December of 2007, there's a communique
     17     that comes out from the DEA, right?
     18                A.       Yes.
     19                Q.       And it's from the
     20     pharmaceutical investigations section,
     21     Drug Enforcement Administration.                     And it
     22     indicates that a distributor, by their
     23     own initiative, recently notified the DEA
     24     that they have discontinued or restricted
    Golkow Litigation Services                                             Page 169
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further170Confidentiality
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                                                                               Review

      1     business with the below-listed customers.
      2     You are once again reminded of your
      3     responsibilities to exercise due
      4     diligence in accordance with 21 CSA
      5     Section 823A1 for the maintenance of
      6     effective controls against the diversion
      7     of controlled substances into other than
      8     legitimate medical, scientific or
      9     industrial channels and to review your
     10     customer's account, especially new
     11     accounts, to ensure that all purchases
     12     are only for these reasons.
     13                         So the DEA is letting you
     14     know that anyone on this list you got to
     15     take a close look at, right?
     16                A.       Yes.
     17                Q.       And the pharmacy we were
     18     just looking at is on this list, right?
     19                A.       Yes.
     20                Q.       So who is Emily Schultz?
     21                A.       She was one of the
     22     compliance clerks that gathered and
     23     analyzed the data from the -- that we
     24     received from pharmacies.
    Golkow Litigation Services                                             Page 170
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
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                                                                               Review

      1                Q.       Mike Cochrane writes to her,
      2     Get all the customer information from
      3     this below in Excel.              I don't want to cut
      4     all of them off, some are good customers.
      5                         Do you see that?
      6                A.       Yes.
      7                Q.       I mean, that -- does that
      8     raise some concerns for you, that he was
      9     sort of prejudging whether he wants to
     10     cut -- not cut customers off, without
     11     looking into this?
     12                         MS. KOSKI:         Object to form.
     13                         THE WITNESS:          He probably
     14                was following what Kyle said at
     15                the bottom, such as, Your company
     16                has a right to continue sales, if
     17                deemed appropriate, with this
     18                notification.          It does not infer
     19                administrative or criminal
     20                proceedings will be initiated on
     21                this notification alone.
     22                         So he's asking for data on
     23                each one of these pharmacies,
     24                instead of just a straight cutoff
    Golkow Litigation Services                                             Page 171
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
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                                Subject         Further172Confidentiality
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                                                                               Review

      1                from everyone.            We don't know how
      2                other people did their due
      3                diligence and what they saw.
      4                         But if we had nothing on
      5                these people, they were cut off.
      6                If New Choice was -- continued to
      7                be sold, there was probably --
      8                there was most likely data on
      9                them, if that's what happened in
     10                this instance.
     11                                -    -    -
     12                         (Whereupon, Anda-Paonessa
     13                Exhibit-29,
     14                Anda_Opioids_MDL_00002722520-521,
     15                was marked for identification.)
     16                              -     -    -
     17     BY MR. PENNOCK:
     18                Q.       This is marked Exhibit-29 to
     19     your deposition.             Bates number 272520.
     20                A.       Okay.
     21                Q.       Okay.       So this is an e-mail
     22     thread talking about a pharmacy in Los
     23     Angeles, right?
     24                A.       Yes.
    Golkow Litigation Services                                             Page 172
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
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                                Subject         Further173Confidentiality
                                                           of 226. PageID #: 469629
                                                                               Review

      1                Q.       And somebody, Barry Koran,
      2     e-mailed you and Jane Howard and wanted
      3     to know if there was any update on
      4     raising United.
      5                         That's the name of the
      6     pharmacy, right?
      7                A.       Yes.
      8                Q.       And there's some e-mail
      9     exchanges.         And, let's see.
     10                         Mike Cochrane writes to you,
     11     They have heavy control use overall.
     12     Their percentages with us are terrible.
     13                         What does that mean?
     14                A.       Their percentage of
     15     controlled versus non-controls were one
     16     of the things that we look at.                    And we
     17     didn't -- you know, it was something that
     18     would ask us to ask them for more
     19     information, because we would need to
     20     know, why are your control sales higher,




     23     Something like that.
     24                         This is 2008, still back in
    Golkow Litigation Services                                             Page 173
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further174Confidentiality
                                                           of 226. PageID #: 469630
                                                                               Review

      1     that period of time when the pain clinics
      2     were still out there.
      3                         So it didn't fit, so we were
      4     looking for more information.
      5                Q.       Well, now we know that pain
      6     clinics were a major part of the problem,
      7     right?
      8                A.       Yes.




     17                         Right?
     18                A.       Yes.
     19                Q.       So he's saying, we're not
     20     doing this?
     21                A.       Yes.
     22                Q.       And you write back, Wouldn't
     23     a hospice use more controls normally?
     24     Putting aside the location for a minute.
    Golkow Litigation Services                                             Page 174
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further175Confidentiality
                                                           of 226. PageID #: 469631
                                                                               Review

      1                         So you're sort of saying
      2     back to him, well, maybe there's a reason
      3     why they are using all these controls?
      4                A.       I did ask that, yes.
      5                Q.       And when you said "putting
      6     aside the location for a minute," what
      7     were you talking about with that comment?
      8                A.       I believe that Mike might
      9     have stumbled upon the fact that fentanyl
     10     might becoming something.                 Fentanyl
     11     wasn't a big -- wasn't a -- it was
     12     obviously an opioid, but the Oxy was what
     13     we looked at mostly.
     14                         And fentanyl was not
     15     something that -- you know, we knew it
     16     was an opioid, but it wasn't something
     17     that it is now, and today.                  And I didn't
     18     know what he had seen in Los Angeles or
     19     maybe we had talked.
     20                         But I did realize that this
     21     was a hospice center -- or a pharmacy
     22     that took care of people in hospice.                       And
     23     that was my question to Mike, is why --
     24     wouldn't there be more controls for a
    Golkow Litigation Services                                             Page 175
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further176Confidentiality
                                                           of 226. PageID #: 469632
                                                                               Review

      1     hospice place?
      2                Q.       Right.         But what do you mean
      3     by "putting aside the location for a
      4     minute"?        Talking about Los Angeles?
      5                A.       It's either Los Angeles --
      6     I'm not sure.          It's either Los Angeles or
      7     the location -- or that place, that
      8     individual hospice.                It's one of the two.
      9     I don't know which one.
     10                Q.       Okay.       I'll show you that
     11     you --
     12                                -    -    -
     13                         (Whereupon, Anda-Paonessa
     14                Exhibit-30,
     15                Anda_Opioids_MDL_00002722520-521,
     16                was marked for identification.)
     17                              -     -    -
     18     BY MR. PENNOCK:
     19                Q.       Marked as Exhibit-30 is
     20     another e-mail.            Bates number 272517.
     21                A.       Okay.
     22                Q.       So you concluded a few days
     23     later that they would use -- or that you


    Golkow Litigation Services                                             Page 176
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further177Confidentiality
                                                           of 226. PageID #: 469633
                                                                               Review

      1     month?
      2                A.       Yes.       I suggested that.           I
      3     didn't tell him to do it, unless you have
      4     another e-mail that says I did.                     So --
      5                         MR. PENNOCK:           Give me a
      6                five-minute break, please.
      7                         VIDEO TECHNICIAN:             Going off
      8                record.       The time is 2:36.
      9                                -    -    -
     10                         (Whereupon, a brief recess
     11                was taken.)
     12                              -     -    -
     13                         VIDEO TECHNICIAN:             Going
     14                back on record.              Beginning of
     15                Media File 6.            The time is 2:45.
     16     BY MR. PENNOCK:
     17                Q.       Sir, I'm going to show you
     18     Exhibit-31, please.
     19                                -    -    -
     20                         (Whereupon, Anda-Paonessa
     21                Exhibit-31,
     22                Anda_Opioids_MDL_0000090857-858,
     23                was marked for identification.)
     24                              -     -    -
    Golkow Litigation Services                                             Page 177
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further178Confidentiality
                                                           of 226. PageID #: 469634
                                                                               Review

      1     BY MR. PENNOCK:
      2                Q.       This is 90857.
      3                         MR. PENNOCK:           Where's the
      4                attachment?          Oh, it came
      5                separately.
      6                                -    -    -
      7                         (Whereupon, Anda-Paonessa
      8                Exhibit-32,
      9                Anda_Opioids_MDL_0000090808, was
     10                marked for identification.)
     11                              -     -    -
     12     BY MR. PENNOCK:
     13                Q.       Here is the attachment that
     14     was produced separately, Exhibit-32.
     15                         MS. KOSKI:           Oh, this one is
     16                yours.
     17     BY MR. PENNOCK:
     18                Q.       The attachment is 90808.
     19                         MS. KOSKI:           Was this
     20                attached to something else?
     21                         THE WITNESS:           This was
     22                attached to this.
     23                         I'm assuming this was
     24                attached to the e-mail, right?
    Golkow Litigation Services                                             Page 178
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further179Confidentiality
                                                           of 226. PageID #: 469635
                                                                               Review

      1                When it says attachment --
      2                         MR. KING:           It says -- the
      3                e-mail refers to an attachment.
      4                         THE WITNESS:           Right.      Which
      5                is this.
      6                         MS. KOSKI:           So it's --
      7                         THE WITNESS:           Right here.
      8                         MS. KOSKI:           Got it.     The
      9                Bates numbers aren't sequential.
     10                But it's okay.
     11                         THE WITNESS:           Okay.
     12                                -    -    -
     13                         (Whereupon, Anda-Paonessa
     14                Exhibit-33,
     15                Anda_Opioids_MDL_0000090805-807,
     16                was marked for identification.)
     17                              -     -    -
     18     BY MR. PENNOCK:
     19                Q.       Here is -- I'm marking
     20     Exhibit-33.         This is 90805.
     21                A.       Okay.
     22                Q.       Okay.       So these e-mails
     23     relate to the same United Pharmacy that
     24     was the subject of some e-mails in early
    Golkow Litigation Services                                             Page 179
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further180Confidentiality
                                                           of 226. PageID #: 469636
                                                                               Review

      1     2008, right?
      2                A.       Yes.
      3                Q.       And in July of 2012, there
      4     is discussion between Mr. Cochrane and
      5     Mr. Brown on an e-mail where Mr. Brown
      6     notes that fentanyl has been anywhere
      7     between 4,500 and 5,500 per month since
      8     the end of last year.               The last three
      9     months are closer to 5,000.
     10                         Do you see that?
     11                A.       Yes.
     12                Q.       Barry Koran, senior account
     13     manager -- he would be in sales; is that
     14     right?
     15                A.       Yes.
     16                Q.       He submitted a letter
     17     apparently addressing some concerns about
     18     United Pharmacy, right?
     19                         I had given you that letter,
     20     right?
     21                A.       Yes.
     22                         MS. KOSKI:         Object to form.
     23     BY MR. PENNOCK:
     24                Q.       And so the letter, the
    Golkow Litigation Services                                             Page 180
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further181Confidentiality
                                                           of 226. PageID #: 469637
                                                                               Review

      1     letter is from Ernestina Saxton, true?
      2     Correct?
      3                A.       Yes.
      4                Q.       And it's to whom it may
      5     concern.        And it talks about somebody who
      6     has been Dr. Saxton's patient since 2008
      7     and Dr. Saxton has intractable migraine
      8     with aura and chronic musculoskeletal
      9     pain secondary to many athletic injuries,
     10     decathlon, golf, ski, water, snow, jet,
     11     basketball, bowling and running.
     12                         Do you see that?
     13                A.       Yes.
     14                Q.       And other trauma.
     15                         Now, there's nothing in here
     16     indicating that this patient had cancer,
     17     however, right?
     18                         MS. KOSKI:         Object to form.
     19                         THE WITNESS:          Yes.
     20     BY MR. PENNOCK:
     21                Q.       Cancer would have been the
     22     indication for that particular medication
     23     that they were asking for, right?
     24                A.       No.
    Golkow Litigation Services                                             Page 181
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further182Confidentiality
                                                           of 226. PageID #: 469638
                                                                               Review

      1                         MS. KOSKI:         Object to form.
      2     BY MR. PENNOCK:
      3                Q.       Fentanyl?
      4                A.       No.
      5                Q.       It could be prescribed for
      6     these problems as well?
      7                         MS. KOSKI:         Object to form.
      8                Foundation.
      9                         THE WITNESS:          I'm not -- I
     10                wouldn't know.           Doctor-wise, I
     11                wouldn't know.
     12                         And these are Actiq, too.
     13                Based on the other e-mails, Actiq
     14                is the fentanyl lollipop for
     15                people -- it's not a patch.
     16     BY MR. PENNOCK:
     17                Q.       So this is a fentanyl
     18     lollipop.
     19                         This is like a lozenge?
     20                A.       It's actually --
     21                Q.       It's actually a lollipop?
     22                A.       It's actually a sucker, yes.
     23                         And the calls to Kyle Wright
     24     were -- we didn't -- we wanted to know
    Golkow Litigation Services                                             Page 182
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further183Confidentiality
                                                           of 226. PageID #: 469639
                                                                               Review

      1     from Kyle Wright, how do we distinguish
      2     patch -- should we distinguish patches
      3     versus the lollipops, because the
      4     indication of the lollipop, we didn't
      5     know how often they would use the
      6     lollipop, what the normal amount would
      7     be.     So we were struggling if we should
      8     take that and make it separate.
      9                         And I have a feeling, in the
     10     later years, maybe in '12, we did
     11     separate Actiq from Oxy -- I mean,
     12     fentanyl.        I don't think that they were
     13     in the same category.
     14                Q.       With respect to this letter,
     15     you -- and I think you have as
     16     Exhibit-34 --
     17                         MS. KOSKI:         32?
     18     BY MR. PENNOCK:
     19                Q.       Sorry, 33.




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Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further184Confidentiality
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                                                                               Review




      5                Q.       Or are we now questioning a
      6     doctor that seems to have written a
      7     sincere letter with this reasoning?
      8                A.       Yes.
      9                Q.       You say, Most bad doctors
     10     would not have written the letter when
     11     they know the pharmacy is going to get
     12     the Oxy anyway.            Make sense?




    Golkow Litigation Services                                             Page 184
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
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                                Subject         Further185Confidentiality
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                                                                               Review




     15                Q.       Well, you say, Or are we now
     16     questioning a doctor that seems to have
     17     written a sincere letter with the
     18     reasoning?
     19                A.       I still look at that as a
     20     question, not an urging.
     21                Q.       What about, Most bad doctors
     22     would not have written the letter when
     23     they know the pharmacy is going to get
     24     the Oxy anyway?
    Golkow Litigation Services                                             Page 185
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further186Confidentiality
                                                           of 226. PageID #: 469642
                                                                               Review

      1                A.       That was a statement, not
      2     urging, once again.
      3                Q.       Well, did this doctor end up
      4     getting indicted?
      5                A.       I don't know.
      6                                -    -    -
      7                         (Whereupon, Anda-Paonessa
      8                Exhibit-34, United States District
      9                Court; Search and Seizure Warrant,
     10                was marked for identification.)
     11                              -     -    -
     12     BY MR. PENNOCK:
     13                Q.       I'll show you what I'm
     14     marking as Exhibit-34.                  I'd like to
     15     quickly go through this with you and
     16     direct you to certain pages, sir.
     17                         MS. KOSKI:           Can you
     18                represent for the record what this
     19                is?     It's not from our files.
     20                         MR. PENNOCK:           Sure.     Marked
     21                as Exhibit-34, a seizure and
     22                search warrant that, as indicated,
     23                was issued by the United States
     24                District Court for the Central
    Golkow Litigation Services                                             Page 186
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further187Confidentiality
                                                           of 226. PageID #: 469643
                                                                               Review

      1                District of California in November
      2                of 2017.
      3     BY MR. PENNOCK:
      4                Q.       If you turn to Page 3, you
      5     will see that it was directed at -- you
      6     see the document reflects it was directed
      7     at United Pharmacy, Inc., Los Angeles,
      8     California?
      9                         Page 3.
     10                         MS. KOSKI:         I'm struggling,
     11                too.
     12                         But I'm not sure the witness
     13                is familiar with the form of the
     14                document.
     15                         Can you put it on the
     16                screen, maybe, so we can see it?
     17                         MR. PENNOCK:          Yep.
     18                         MS. KOSKI:         So page numbered
     19                3, not the Roman.
     20                         Just look on the screen.
     21                         THE WITNESS:          Sorry, I
     22                didn't see that.            Okay.
     23                         Okay, I have it.            Yes.
     24     BY MR. PENNOCK:
    Golkow Litigation Services                                             Page 187
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
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                                Subject         Further188Confidentiality
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                                                                               Review

      1                Q.       Okay.      So you see that it's
      2     directed at United Pharmacy, Inc.?
      3                A.       Yes.
      4                Q.       And -- hold on.            And I just
      5     want to direct your attention to the
      6     doctor that is mentioned on here.                      Page
      7     21.
      8                A.       Okay.
      9                Q.       In February of 2015, the DEA
     10     initiated the investigation in this case
     11     after receiving information from the DEA
     12     Fresno resident office that Dr. Ernestina
     13     Saxton was writing large quantities of
     14     controlled substance prescriptions for
     15     patients located in Los Angeles.
     16                         Do you see that?
     17                A.       Yes.
     18                Q.       And that is the -- at least
     19     appears to be the same doctor that wrote
     20     this letter that you have been referring
     21     to as a sincere doctor in your e-mail?
     22                A.       Yes.
     23                Q.       Did this ever come to your
     24     attention?
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      1                A.       No.
      2                         MS. KOSKI:         I'm going to
      3                object.       The document is dated
      4                2017.      Mr. Paonessa didn't work at
      5                Anda in 2017.
      6                         MR. PENNOCK:          Okay.
      7                         MS. KOSKI:         In fact had been
      8                gone for two years --
      9                         MR. PENNOCK:          Hmm?
     10                         MS. KOSKI:         You had been
     11                gone for two years by then, right?
     12                         THE WITNESS:          Three by then.
     13                Because it says Anda '17.
     14     BY MR. PENNOCK:
     15                Q.       Take a look at Page 25.
     16                A.       Okay.
     17                Q.       It says, United dispensed
     18     over 1 million dosage units of oxycodone
     19     over the same period, with over 400,000
     20     dosage units of 30-milligram oxycodone.
     21                         Do you see that?
     22                A.       Yes.
     23                         MS. KOSKI:         I don't know
     24                where you are.           What paragraph?
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      1                         THE WITNESS:          25, right
      2                here.
      3                         MS. KOSKI:         I'm with you.
      4                Sorry.
      5     BY MR. PENNOCK:
      6                Q.       So whatever your protocol
      7     was for due diligence back in 2012, you
      8     would agree with me, if the allegations
      9     contained in this document are correct,
     10     that the due diligence with respect to
     11     this facility failed pretty badly?
     12                         MS. KOSKI:         I'm going to
     13                object to form.           And I'll instruct
     14                you not to answer.
     15                         He's not a lawyer.              This
     16                is -- if the allegations in this
     17                document, which is a search and
     18                seizure warrant are correct.                   How
     19                can he answer that question?
     20                         MR. PENNOCK:          I don't think
     21                it's too hard.           I'm just -- so I'm
     22                going to reiterate my question.
     23     BY MR. PENNOCK:
     24                Q.       I'm asking you, you've seen
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      1     this document?
      2                A.       Yes.
      3                Q.       Assuming this to be
      4     authentic, which I'm representing it is,
      5     assuming these allegations against this
      6     doctor to be correct, Dr. Ernestina
      7     Saxton, you would agree with me that
      8     whatever due diligence you and your
      9     colleagues did in 2012 were insufficient
     10     to make an appropriate determination as
     11     to the prescriptions and use of
     12     medications by Ernestina Saxton?
     13                         MS. KOSKI:         Object to form.
     14                Lacks foundation.             Calls for a
     15                legal conclusion.
     16                         You can answer if you want
     17                to speculate for Mr. Pennock.
     18                         THE WITNESS:          I don't know
     19                what they were buying in 2012.
     20                This is 2017.          I have no idea what
     21                they had in their due diligence
     22                that we had on file for them at
     23                that period of time.
     24     BY MR. PENNOCK:
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      1                Q.       Sir, I have a series of
      2     documents I'd like you to look at.                      I'm
      3     going to mark them all and hand them to
      4     you one by one.            Before I question, I'll
      5     get them all marked.
      6                         MR. PENNOCK:           I'm going to
      7                need a number of other tabs.
      8                                -    -    -
      9                         (Whereupon, Anda-Paonessa
     10                Exhibit-35,
     11                Anda_Opioids_MDL_0000275048, was
     12                marked for identification.)
     13                              -     -    -
     14     BY MR. PENNOCK:
     15                Q.       Here is Exhibit-36, which is
     16     275048.
     17                         MS. KOSKI:           Is that 35?
     18                         MR. PENNOCK:           Wait a second.
     19                Was that 35?
     20                         MS. KOSKI:           35.
     21                         MR. PENNOCK:           Sorry, I
     22                marked 35 was --
     23                         MS. KOSKI:           You gave him 35,
     24                you just said 36.
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      1                         MR. PENNOCK:           So 35 was
      2                275048.
      3                                -    -    -
      4                         (Whereupon, Anda-Paonessa
      5                Exhibit-36,
      6                Anda_Opioids_MDL_0000284363-364,
      7                was marked for identification.)
      8                              -     -    -
      9                         MR. PENNOCK:           36 is 284363.
     10                                -    -    -
     11                         (Whereupon, Anda-Paonessa
     12                Exhibit-38,
     13                Anda_Opioids_MDL_0000284363-364,
     14                was marked for identification.)
     15                              -     -    -
     16                         MR. PENNOCK:           38 is 273292.
     17                         I have 37 over here, I'm
     18                looking for another copy.
     19                         MS. KOSKI:           You gave me --
     20                okay, 38.
     21                         This is an extra copy of 38.
     22                This is an extra of 38.
     23                                -    -    -
     24                         (Whereupon, Anda-Paonessa
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      1                Exhibit-39,
      2                Anda_Opioids_MDL_0000273518, was
      3                marked for identification.)
      4                              -     -    -
      5                         MR. PENNOCK:           39 is 273518.
      6                         THE WITNESS:           I don't have
      7                37.
      8                         MS. KOSKI:           I know.     I think
      9                he's working on it.
     10                                -    -    -
     11                         (Whereupon, Anda-Paonessa
     12                Exhibit-40,
     13                Anda_Opioids_MDL_0000287964, was
     14                marked for identification.)
     15                              -     -    -
     16                         MR. PENNOCK:           40 is 287964.
     17                                -    -    -
     18                         (Whereupon, Anda-Paonessa
     19                Exhibit-41,
     20                Anda_Opioids_MDL_0000273617, was
     21                marked for identification.)
     22                              -     -    -
     23                         MR. PENNOCK:           41 is 273617.
     24                                -    -    -
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      1                         (Whereupon, Anda-Paonessa
      2                Exhibit-42,
      3                Anda_Opioids_MDL_0000273762, was
      4                marked for identification.)
      5                              -     -    -
      6                         MR. PENNOCK:           42 is 273762.
      7                                -    -    -
      8                         (Whereupon, Anda-Paonessa
      9                Exhibit-43,
     10                Anda_Opioids_MDL_0000283018-019,
     11                was marked for identification.)
     12                              -     -    -
     13                         MR. PENNOCK:           43 is 283018.
     14                                -    -    -
     15                         (Whereupon, Anda-Paonessa
     16                Exhibit-44,
     17                Anda_Opioids_MDL_0000274800, was
     18                marked for identification.)
     19                              -     -    -
     20                         MR. PENNOCK:           44 is 274800.
     21                         MS. KOSKI:           The only one he
     22                did not get was 37.
     23                         MR. PENNOCK:           I don't have a
     24                copy of it.          I'll just keep it
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      1                right here for a moment so I don't
      2                lose track.
      3                         MS. KOSKI:         Okay.
      4                         MR. PENNOCK:          We don't have
      5                a copy, right?
      6                         We started with 35?
      7                         MS. KOSKI:         He's given you
      8                ten exhibits.          Listen to the
      9                questions, so you know which ones
     10                he's referring to.
     11     BY MR. PENNOCK:
     12                Q.       So, Mr. Paonessa, I'd like
     13     to look at Exhibit Number 35, please.
     14                A.       Okay.
     15                Q.       This is an e-mail in August
     16     2007.      Al, I need your -- this is an
     17     e-mail to you, right?
     18                A.       Yes.
     19                Q.       I need your approval to
     20     change the monthly dosage limit
     21     percentage on the account listed below to
     22     99,999 percent, allowing them to purchase
     23     up to unlimited dosage units a month.
     24                         That would be for C-IIs,
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      1     right?
      2                         MS. KOSKI:         Object to form.
      3     BY MR. PENNOCK:
      4                Q.       Do you see that statement?
      5                A.       I see unlimited.            I don't
      6     know what the drug was.
      7                Q.       You don't know what the drug
      8     was.
      9                         But the only -- the only
     10     caps you had were on C-IIs, weren't they?
     11                A.       No.
     12                Q.       You had -- what else did you
     13     have caps on?
     14                A.       Soma -- what year was this?
     15                Q.       2007.
     16                A.       Hydrocodone, Soma, Adderall.
     17                Q.       Those are all C-IIs?
     18                A.       Hydrocodone wasn't.              Soma
     19     wasn't.
     20                Q.       You had caps on those?
     21                A.       Alprazolam, lorazepam.
     22                         Yes, we had it on every
     23     chemical that was a control, II through
     24     IVs.
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      1                Q.       Would that have included
      2     opioids?
      3                A.       Yes, it would.
      4                Q.       So if they were buying
      5     opioids, they had unlimited?
      6                A.       Yes.
      7                         MS. KOSKI:         Object to form.
      8     BY MR. PENNOCK:
      9                Q.       Right?
     10                A.       Yes.
     11                Q.       Okay.      Exhibit-36, February
     12     of 2009.        And it starts out with an
     13     e-mail from Kim Bloom, and she writes to
     14     Dan Shannon -- sorry, Dan Shannon had
     15     written to Kim Bloom, Usage is 128,495
     16     tabs a month.
     17                A.       Yes.
     18                Q.       It says, Partners is already
     19     at their limits for the month on
     20     oxycodone combo and he needs products.
     21                         Do you see that?
     22                A.       Yes.




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      3                         Do you see that statement?
      4                A.       Yes.
      5                Q.       And this gets forwarded up.
      6     You see, Is there any way to make
      7     Partners unlimited like we do BJK?
      8                         BJK was some other customer
      9     of yours, right?
     10                A.       Yes.
     11                Q.       It makes sense.            We know who
     12     they are and we know what they do.                      We
     13     really should treat them the same way as
     14     we do BJK.
     15                         Right?
     16                A.       Yes.
     17                Q.       And Cochrane wrote to you, I
     18     need your approval to make this location
     19     unlimited.
     20                A.       Yes.
     21                Q.       Partners Pharmacy?
     22                A.       It's not a pharmacy.               But
     23     it's a long-term care, fourth largest in
     24     the United States, still today.
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      1                Q.       And you approved?
      2                A.       Yes, I did.
      3                Q.       It looks like -- I'm sorry,
      4     39 is a duplicate.
      5                         Sorry, 37 is a duplicate of
      6     36.
      7                         MS. KOSKI:         That's why you
      8                didn't have any copies.
      9                         MR. PENNOCK:          What?
     10                         MS. KOSKI:         That's why you
     11                didn't have any copies.                That's
     12                the one we didn't get.
     13     BY MR. PENNOCK:
     14                Q.       So this would be 38.
     15                         MS. KOSKI:         We'll just skip
     16                37, and the record will show
     17                there's no 37.
     18                         MR. PENNOCK:          That's right.
     19     BY MR. PENNOCK:
     20                Q.       Exhibit-38, September 9th,
     21     2008.      It's an e-mail.
     22                         Hi George, I'm making sure
     23     this account is ready for this order that
     24     should be arriving today.                 I noticed that
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      1     these items are coming up customer
      2     ineligible.         Here are the items.              Can you
      3     please have these corrected so the order
      4     can be processed.
      5                         Do you see that statement?
      6                A.       Yes.
      7                Q.       It says, Oxy order for
      8     Supervalu Advantage Logistics.
      9                         Do you know them?
     10                A.       Yes, they are a very large
     11     West Coast chain.             They're still in
     12     business today.
     13                Q.       And you made them unlimited,
     14     too?
     15                A.       Yes.      This was their -- this
     16     was their warehouse that supplied each
     17     one of their individual stores.                     They had
     18     their own vault.
     19                Q.       They had their own what?
     20                A.       They had their own vault.
     21                Q.       And so you didn't -- when
     22     that happened, like with this, you didn't
     23     go do any due diligence on their
     24     individual stores?
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      1                A.       I believe that we did due
      2     diligence -- no, not on any individual
      3     stores.
      4                         We would have done it with
      5     their corporate office and gone through
      6     their SOPs and what they had in place.
      7     We had numerous chains that we sold
      8     controls to.
      9                Q.       Exhibit-39 is another, Need
     10     your approval, monthly dosage limit on




                                                                          .
     14                A.       Yes.      This is -- this was,
     15     at the time, the largest wholesaler on
     16     Puerto Rico.          And they are now owned by
     17     Cardinal.        At that time in '08, I was
     18     still selling distributors and
     19     wholesalers, which I later stopped.
     20                Q.       And, anyway, you approved
     21     them as well?
     22                A.       Yes.
     23                Q.       And June 12th, 2009,
     24     Cochrane writes to you, Al, I need your
    Golkow Litigation Services                                             Page 202
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      1     approval to change the monthly dosage
      2     percentage on the account listed below




      6                A.       Which one is that?
      7                Q.       -- dosage units per month.
      8                         MS. KOSKI:         40.
      9                         THE WITNESS:          I don't see
     10                40.
     11                         MS. KOSKI:         You had it.
     12                         MR. PENNOCK:          This is
     13                Exhibit-40.
     14                         THE WITNESS:          No, I don't
     15                have 40.
     16                         I have a blank one.              Oh,
     17                it's at the bottom.              I'm sorry.        I
     18                didn't see it.
     19                         Dispensing Solutions.               I do
     20                not remember Dispensing Solutions
     21                back in '09.          I don't know which
     22                account that is.
     23     BY MR. PENNOCK:
     24                Q.       Well, in any event, you
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      2     month?
      3                A.       They were -- I remember now,
      4     I don't remember -- they were a
      5     repackager, as I explained in earlier
      6     questions.
      7                         They were one of the
      8     repackagers that dealt with nursing homes
      9     and other places and put them in blister
     10     packs, things like that.                 That's who
     11     Dispensing Solutions was.                 I think they
     12     were out of Tampa, I'm not sure, or
     13     California.         I don't remember.
     14                         I met with this owner, too.
     15     He came to our building and brought his
     16     SOPs with him, I remember, when he came
     17     in, of how he did this.                And we visited
     18     his location.
     19                Q.       Who visited?
     20                A.       Michael Cochrane.
     21                Q.       Here is June 2008,
     22     increasing the monthly dosage limit to
     23     2,400 percent.
     24                A.       This is, again, a whole --
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      1     it's a wholesaler, but a wholesaler for a
      2     grocery store chain in the Midwest.                       I
      3     don't remember what their brand name was
      4     that was out there.              They had multiple
      5     ones.
      6                         And they had their own
      7     vault, so they did their own
      8     distribution.          So we sold to them and
      9     then they sold it to their own chain.
     10                         But it's like Food Lion or
     11     something.         I forget which one it is.
     12     But HJ Harkins, that's who they were.
     13                Q.       A lot of pills heading -- a
     14     lot of pills going out the door, huh?
     15                A.       Relative to --
     16                Q.       What a fiasco.
     17                         MS. KOSKI:         Move to strike.
     18     BY MR. PENNOCK:


     20     for Sandhills Packaging.
     21                         Do you know who they are?
     22                A.       I believe they are the ones
     23     that did the -- I'm not -- I shouldn't
     24     speak, but I believe that was the ones
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      1     that dealt with Kroger's.                 They did the
      2     special packaging for Kroger's specialty.
      3     But I'm not sure of that.                 I think that's
      4     who they were.
      5                Q.       43, Kim Bloom, one of our
      6     favorites.
      7                         She wants -- let's see, also
      8     need approval, 500 percent on Preferred
      9     Pharmaceuticals wholesaler, great mix.
     10                         Each of these increases that
     11     are reflected on Exhibit-43, and you
     12     approved each of those?
     13                A.       Yes.
     14                Q.       And what -- is it your
     15     position or are you telling us, with
     16     respect to these, you had conversations
     17     regarding each and every one of these
     18     before you signed off on these?
     19                A.       Thinking middle of 2010, I
     20     don't remember whether I had -- it's
     21     interesting that Kim is on these e-mails
     22     now and she wasn't on these e-mails in
     23     '09, '08 and '07.
     24                         So I believe, unless her
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      1     title is on here, sales operations, I
      2     believe she was the one that worked with
      3     Michael.        And if it came from her, then I
      4     knew the due diligence was done with
      5     Michael, and Robert wasn't there yet.
      6                         Once Robert came, he took
      7     over this for her.             But I felt
      8     comfortable that these were looked at by
      9     Michael and his team before I would get
     10     this, yes.
     11                Q.       So you probably did not have
     12     a specific conversation with either of
     13     them, but were relying upon what you
     14     understood to be their due diligence, in
     15     terms of prior to these requests?
     16                A.       By 2010, I did that.               And I
     17     even, you know, will call out, there's a
     18     doctor on here, and we stopped selling
     19     doctors.
     20                         So this was right in the
     21     time that, you know, we were changing,
     22     you know, and getting even more stringent
     23     after this.
     24                         But I would say I did not
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      1     talk to these people -- I did not talk
      2     about each one of these individually.                        I
      3     wouldn't say that I didn't talk about
      4     some of them, such as A&P Pharmacy, which
      5     was a chain.          So I can't say I did or did
      6     not talk to them.
      7                         But I doubt that I talked to
      8     them about each one of them.
      9                Q.       What was the point of you
     10     signing off?          Just because you were
     11     president?
     12                A.       I wanted to know that they
     13     still followed the procedures that they
     14     were supposed to do.              And I believe that
     15     they did.
     16                         I did not want a change to
     17     be made into the system of an amount
     18     without me seeing it.
     19                Q.       And last, Exhibit-44 --
     20                         MS. KOSKI:         Is that a
     21                repeat?
     22     BY MR. PENNOCK:
     23                Q.       -- Dispensing Solutions.
     24                         Do you know who they are?
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      1                A.       Yes, we talked about them
      2     already.        They were the ones out of Tampa
      3     or Los Angeles, where the owner came out
      4     and talked to us.
      5                         MR. PENNOCK:           Okay.     I don't
      6                think I have -- I have no further
      7                questions.          Thank you.
      8                         MS. KOSKI:           I will have a
      9                couple, but can I take a quick
     10                break first to make it shorter?
     11                         MR. PENNOCK:           Yes.
     12                         VIDEO TECHNICIAN:             Going off
     13                the record.          The time is 3:19.
     14                                -    -    -
     15                         (Whereupon, a brief recess
     16                was taken.)
     17                              -     -    -
     18                         VIDEO TECHNICIAN:             Going
     19                back on record.              Beginning of
     20                Media File Number 7.              The time is
     21                3:29.
     22                                -    -    -
     23                            EXAMINATION
     24                                -    -    -
    Golkow Litigation Services                                             Page 209
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further210Confidentiality
                                                           of 226. PageID #: 469666
                                                                               Review

      1     BY MS. KOSKI:
      2                Q.       Mr. Paonessa, I just have a
      3     few questions about some of the exhibits
      4     that you went through with Mr. Pennock.
      5                         Do you have the exhibits in
      6     front of you?
      7                A.       Yes.
      8                Q.       If you'd turn to Exhibit-6.
      9                A.       Okay.
     10                Q.       And this was an e-mail from
     11     June of 2008, right?
     12                A.       Yes.
     13                Q.       And can you tell us what
     14     product is at issue in this document?
     15                A.       No.
     16                Q.       Is there anything on the
     17     face of the document that would tell us
     18     what product is being -- there's an
     19     increase request about?                Strike that.
     20                         Is there anything on the
     21     face of the document that tells you what
     22     product Mike is talking about here?
     23                A.       No.
     24                Q.       Okay.      Would you have known
    Golkow Litigation Services                                             Page 210
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further211Confidentiality
                                                           of 226. PageID #: 469667
                                                                               Review

      1     what product he was talking about in June
      2     of 2008?
      3                A.       Yes.      We would have talked
      4     about it.
      5                Q.       But we're here in 2019,
      6     right?
      7                A.       Yes.
      8                Q.       If you look at Exhibit-5 --
      9     I'm sorry, I skipped one.
     10                A.       Okay.
     11                Q.       Same question, this is an
     12     e-mail from 2007, can you tell from the
     13     face of the document what product this
     14     relates to?
     15                A.       No.
     16                Q.       Exhibit-8.
     17                A.       Okay.
     18                Q.       E-mail from 2007.
     19                         Can you tell from the face
     20     of this document what product is being
     21     discussed here?
     22                A.       No.
     23                Q.       If you could turn to
     24     Exhibit-13.
    Golkow Litigation Services                                             Page 211
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further212Confidentiality
                                                           of 226. PageID #: 469668
                                                                               Review

      1                A.       Okay.
      2                Q.       Do you recall discussing
      3     this product listing with Mr. Pennock?
      4                A.       Yes.
      5                Q.       And if you turn to the
      6     second page, Mr. Pennock asked you to
      7     focus on, Ordering C-IIs from Anda is
      8     easier than ever.
      9                         Do you recall that?
     10                A.       Yes.
     11                Q.       And can you read for the
     12     jury the line that appears in relatively
     13     small print underneath?
     14                A.       The purchase of controlled
     15     substances are subject to our monthly
     16     pill count policies.
     17                Q.       Can you explain to the jury
     18     what that means?
     19                A.       That we have policies in
     20     place, per chemical, of how much they are
     21     allowed to buy from us.                And we do due
     22     diligence to allow them to have the
     23     drugs, as well as if they would need more
     24     for some reason, we do additional due
    Golkow Litigation Services                                             Page 212
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further213Confidentiality
                                                           of 226. PageID #: 469669
                                                                               Review

      1     diligence as to, you know, how many pills
      2     that they could have per chemical.
      3                Q.       And just so it's clear, the
      4     "they" in your answer, is that customers?
      5                A.       Pharmacies, yeah.
      6                Q.       Just to refresh you back to
      7     Exhibit-28 that you talked about.
      8                         Do you remember talking with
      9     Mr. Pennock about New Choice Pharmacy?
     10                A.       Oh, okay.        Yes.
     11                Q.       And do you recall this
     12     Exhibit-28?
     13                A.       Yes.
     14                Q.       And on the second page,
     15     there's a list of pharmacies that Mr.
     16     Wright, from the DOJ, is talking -- from
     17     the DEA, excuse me, is talking about.
     18                         Do you see that?
     19                A.       Yes.
     20                Q.       And the third up from the
     21     bottom is New Choice Pharmacy --
     22                A.       Yes.
     23                Q.       -- is that right?
     24                         Okay.      I'm going to hand you
    Golkow Litigation Services                                             Page 213
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further214Confidentiality
                                                           of 226. PageID #: 469670
                                                                               Review

      1     what I've marked as Exhibit-45.
      2                                -    -    -
      3                         (Whereupon, Anda-Paonessa
      4                Exhibit-45,
      5                Anda_Opioids_MDL_0000272207-208,
      6                was marked for identification.)
      7                              -     -    -
      8     BY MS. KOSKI:
      9                Q.       And for the record --
     10                A.       Okay.
     11                Q.       -- Exhibit-45 is
     12     Anda_Opioids_MDL_0000272207 to 208.
     13                         And you see there, there's
     14     an e-mail from Emily Schultz, on December
     15     11th of 2007, to customer maintenance.
     16                         Do you see that?
     17                A.       Yes.
     18                Q.       And you're copied on that
     19     e-mail in the "cc" line?
     20                A.       Yes, yes.
     21                Q.       And what does Ms. Schultz
     22     say in the middle of the e-mail there,
     23     starting with, Please?                  If you could read
     24     that.
    Golkow Litigation Services                                             Page 214
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further215Confidentiality
                                                           of 226. PageID #: 469671
                                                                               Review

      1                A.       Please change customer type
      2     to 2002, expired DEA, with today's date
      3     and remove schedules for the following
      4     accounts.
      5                Q.       And if you turn the page,
      6     you'll see the eighth pharmacy listed
      7     from the top --
      8                A.       Yes.
      9                Q.       -- do you see that, New
     10     Choice Pharmacy?
     11                A.       Yes.
     12                Q.       So what does this e-mail
     13     tell you about New Choice Pharmacy?
     14                A.       They were cut off from
     15     receiving controls, and this list was
     16     sent to the DEA.
     17                Q.       And what was the date that
     18     they were cut off, according to this
     19     exhibit?
     20                A.       12/11/2007.
     21                Q.       And is that the same date
     22     that you received notification from Mr.
     23     Wright at DEA about this particular
     24     pharmacy, Exhibit-28?
    Golkow Litigation Services                                             Page 215
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further216Confidentiality
                                                           of 226. PageID #: 469672
                                                                               Review

      1                A.       Yes, 12/11.          Same date.
      2                Q.       If you could turn to
      3     Exhibit-35.
      4                A.       Yes.
      5                Q.       Okay.      And you recall
      6     talking about this exhibit with Mr.
      7     Pennock as well?
      8                A.       Yes.
      9                Q.       And can you tell from the
     10     face of this document what product is
     11     being discussed here?
     12                A.       No.
     13                Q.       And in August of 2007, would
     14     you have understood what product or
     15     products were being discussed?
     16                A.       I would have -- I would have
     17     known, especially for MedCo, it's a very,
     18     very large nationwide company.                    This was
     19     one of their many, many facilities.
     20                         But I would have known what
     21     product it was at the time.
     22                Q.       But on the face of this
     23     document, you can't tell?
     24                A.       No.
    Golkow Litigation Services                                             Page 216
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further217Confidentiality
                                                           of 226. PageID #: 469673
                                                                               Review

      1                Q.       Okay.
      2                         MS. KOSKI:           That's all I
      3                have.
      4                         Do you have follow-up?
      5                         MR. PENNOCK:           Yes, I do have
      6                a couple.         Just a couple.
      7                                -    -    -
      8                         (Whereupon, a discussion off
      9                the record occurred.)
     10                              -     -    -
     11                         MR. PENNOCK:           Give us two
     12                minutes.        We're just looking for
     13                something.
     14                                -    -    -
     15                            EXAMINATION
     16                                -    -    -
     17     BY MR. PENNOCK:
     18                Q.       Sir, just a couple of
     19     questions about Exhibit-45.
     20                         You mentioned that there was
     21     an e-mail saying that New Choice Pharmacy
     22     should be cut off from sales on December
     23     11, 2007, right?
     24                A.       Yes.
    Golkow Litigation Services                                             Page 217
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further218Confidentiality
                                                           of 226. PageID #: 469674
                                                                               Review

      1                Q.       Counsel just asked you about
      2     that.
      3                                -    -    -
      4                         (Whereupon, Anda-Paonessa
      5                Exhibit-46,
      6                Anda_Opioid_MDL_Tx-data_CUY-SUM-OH
      7                _00001; With Attachment, was
      8                marked for identification.)
      9                              -     -    -
     10     BY MR. PENNOCK:
     11                Q.       Let me show you Exhibit-46,
     12     which is marked -- well, it's a native, a
     13     document produced in native format.                       And
     14     it's from -- transactional data from
     15     Anda.
     16                         MR. PENNOCK:          Is this the
     17                number you're supposed to read,
     18                this thing here?
     19                         Anda_Opioid_MDL_TX-data_CUY-
     20                SUM-OH_00001.
     21     BY MR. PENNOCK:
     22                Q.       I'm going to direct you to a
     23     couple of columns in that, and then we'll
     24     be done?
    Golkow Litigation Services                                              Page 218
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further219Confidentiality
                                                           of 226. PageID #: 469675
                                                                               Review

      1                A.       Okay.
      2                Q.       Okay.      So if you turn to the
      3     last page of what I gave you, do you see
      4     that, according to this document, not
      5     only did you send oxycodone on the day
      6     before, on December 10th, along with
      7     fentanyl and hydrocodone and methadone --
      8     do you see that?
      9                A.       Yes.
     10                Q.       But on December 11th, the
     11     following were shipped:                Codeine,
     12     fentanyl, morphine, morphine, morphine,
     13     morphine, morphine, oxycodone.
     14                         Do you see that --
     15                A.       Yes.
     16                Q.       -- from this document here?
     17                         Do you see that?
     18                A.       Yes.
     19                Q.       So that would suggest to
     20     you, would it not, that despite being --
     21     despite Ms. Schultz saying that New
     22     Choice should be shut off, at least as of
     23     that day, they weren't shut off and stuff
     24     was actually shipped out to them?
    Golkow Litigation Services                                             Page 219
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further220Confidentiality
                                                           of 226. PageID #: 469676
                                                                               Review

      1                A.       I don't know the time of
      2     this -- there's no time stamp on the
      3     actual -- I got the date correct.
      4                         I don't know what time the
      5     order was done and processed.                   And we
      6     open at 9 o'clock in the morning.                      So
      7     it's possible it was before they took
      8     them out of the system.
      9                Q.       Right.       It went out before
     10     this --
     11                A.       Before we got --
     12                Q.       -- it went out on the very
     13     same day, though?
     14                A.       It went out on the very same
     15     day, yes.
     16                         MR. PENNOCK:          Thank you.
     17                         MS. KOSKI:          I have nothing
     18                further.
     19                         VIDEO TECHNICIAN:             This
     20                concludes today's deposition.
     21                Going off the record.               The time is
     22                3:41.
     23                                -   -    -
     24                         (Whereupon, the deposition
    Golkow Litigation Services                                             Page 220
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further221Confidentiality
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                                                                               Review

      1                concluded at 3:41 p.m.)
      2                                -   -    -
      3

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    Golkow Litigation Services                                             Page 221
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                                                                               Review

      1                            CERTIFICATE
      2

      3

      4                         I HEREBY CERTIFY that the
      5     witness was duly sworn by me and that the
      6     deposition is a true record of the
      7     testimony given by the witness.
      8

      9

     10

                       Amanda Maslynsky-Miller
     11                Certified Realtime Reporter
                       Dated:      February 11, 2019
     12

     13

     14

     15

     16

     17                         (The foregoing certification
     18     of this transcript does not apply to any
     19     reproduction of the same by any means,
     20     unless under the direct control and/or
     21     supervision of the certifying reporter.)
     22

     23

     24

    Golkow Litigation Services                                             Page 222
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further223Confidentiality
                                                           of 226. PageID #: 469679
                                                                               Review

      1                   INSTRUCTIONS TO WITNESS
      2

      3                         Please read your deposition
      4     over carefully and make any necessary
      5     corrections.          You should state the reason
      6     in the appropriate space on the errata
      7     sheet for any corrections that are made.
      8                         After doing so, please sign
      9     the errata sheet and date it.
     10                         You are signing same subject
     11     to the changes you have noted on the
     12     errata sheet, which will be attached to
     13     your deposition.
     14                         It is imperative that you
     15     return the original errata sheet to the
     16     deposing attorney within thirty (30) days
     17     of receipt of the deposition transcript
     18     by you.       If you fail to do so, the
     19     deposition transcript may be deemed to be
     20     accurate and may be used in court.
     21

     22

     23

     24

    Golkow Litigation Services                                             Page 223
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further224Confidentiality
                                                           of 226. PageID #: 469680
                                                                               Review

      1                            - - - - - -
                                   E R R A T A
      2                            - - - - - -
      3     PAGE     LINE      CHANGE/REASON
      4     ____     ____      ____________________________
      5     ____     ____      ____________________________
      6     ____     ____      ____________________________
      7     ____     ____      ____________________________
      8     ____     ____      ____________________________
      9     ____     ____      ____________________________
     10     ____     ____      ____________________________
     11     ____     ____      ____________________________
     12     ____     ____      ____________________________
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     15     ____     ____      ____________________________
     16     ____     ____      ____________________________
     17     ____     ____      ____________________________
     18     ____     ____      ____________________________
     19     ____     ____      ____________________________
     20     ____     ____      ____________________________
     21     ____     ____      ____________________________
     22     ____     ____      ____________________________
     23     ____     ____      ____________________________
     24     ____     ____      ____________________________
    Golkow Litigation Services                                             Page 224
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
                                Subject         Further225Confidentiality
                                                           of 226. PageID #: 469681
                                                                               Review

      1                ACKNOWLEDGMENT OF DEPONENT
      2
                          I,_____________________, do
      3     hereby certify that I have read the
            foregoing pages, 1 - 221, and that the
      4     same is a correct transcription of the
            answers given by me to the questions
      5     therein propounded, except for the
            corrections or changes in form or
      6     substance, if any, noted in the attached
            Errata Sheet.
      7
      8       _______________________________________
              AL PAONESSA               DATE
      9
     10
            Subscribed and sworn
     11     to before me this
            _____ day of ______________, 20____.
     12
            My commission expires:______________
     13
     14     ____________________________________
            Notary Public
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    Golkow Litigation Services                                             Page 225
Case: Highly
      1:17-md-02804-DAP Doc #:-3027-2
               Confidential           Filed:to12/19/19
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                                                                               Review

      1                         LAWYER'S NOTES
      2     PAGE     LINE
      3     ____     ____      ____________________________
      4     ____     ____      ____________________________
      5     ____     ____      ____________________________
      6     ____     ____      ____________________________
      7     ____     ____      ____________________________
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     23     ____     ____      ____________________________
     24     ____     ____      ____________________________
    Golkow Litigation Services                                             Page 226
